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15   Attorneys for Plaintiffs

16                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF CALIFORNIA
17                               SAN FRANCISCO DIVISION
18
     SHERIDA JOHNSON, SUBRINA                     Case No.: 3:17-cv-00517
19   SEENARAIN, CHAD LOURY, LINDA
     SPRY, LISA SULLIVAN, APRIL                   THIRD AMENDED
20   AHRENS and JANELLE HORNE on                  CLASS ACTION COMPLAINT
     behalf of themselves and all others
21   similarly situated,
                                                  DEMAND FOR JURY TRIAL
22

23                         Plaintiffs,

24          v.

25   NISSAN NORTH AMERICA, INC.,

26                         Defendant.
27

28                                            1
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 1                                           INTRODUCTION

 2          Plaintiffs Sherida Johnson, Subrina Seenarain, Chad Loury, Linda Spry, Lisa Sullivan,

 3   April Ahrens and Janelle Horne (“Plaintiffs”) on behalf of themselves and all others similarly
 4   situated, bring this action against Defendant Nissan North America, Inc. (“Nissan”). Plaintiffs’
 5
     allegations herein are based upon personal knowledge as to their own acts and experiences in this
 6
     matter, the investigation of counsel, and upon information and belief as to all other matters.
 7
                                     I.        SUMMARY OF CASE
 8
         Historically, automobile sunroofs have been modestly sized, spanning just a small portion of
 9

10       the roof over the driver and front passenger seats.

11       Starting in the mid-2000s, automobile manufacturers expanded sunroofs in size so that now a

12       sunroof (i.e., sheet(s) of glass) accounts for nearly the entire roof of a vehicle. These expanded
13       sunroofs are often referred to as “panoramic.”
14
         Panoramic sunroofs are aesthetically pleasing and command a premium price. They also pose
15
         new and significant engineering challenges. Replacing metal portions of automobile roofs with
16
         large plates of glass requires precision in the strengthening, attachment, and stabilization of the
17
         glass.
18

19       Nissan and other manufacturers failed to meet these engineering challenges, with at least three

20       manufacturers issuing safety recalls due to the panoramic sunroofs’ propensity to
                                1
21       spontaneously shatter.
22

23

24

25
     1 Nissan refers to the enlarged sunroof feature as Panoramic Moonroof, Power Panoramic
26   Moonroof, Dual Power Panoramic Moonroof, Dual Panorama Moonroof, and Dual Opening Glass
     Moonroof depending upon the vehicle model. Regardless of the vehicle model, all will be referred
27   to as “panoramic sunroofs” or “defective sunroofs” in this Second Amended Complaint.
28                                                      2
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 1   The shattering events are so powerful that startled drivers compare it to the sound of a gunshot,

 2   after which glass fragments rain down upon the occupants of the vehicle, sometimes while
 3   driving at highway speeds.
 4
     Nissan does not warn current or potential drivers of the danger(s) associated with the
 5
     panoramic sunroof feature.
 6
     Nissan continues to sell and lease its vehicles with panoramic sunroofs to consumers.
 7
     Nissan does not disclose any known or potential defect nor the known or potential danger(s)
 8

 9   of the panoramic sunroof to current or potential Nissan vehicle consumers.

10   Nissan knew or should have known about this problem since at 2008 due to a number of

11   consumer complaints lodged with the National Highway and Transportation Administration

12   (“NHTSA”). In July 25, 2014 NHTSA sent correspondence to Nissan informing Nissan of
13
     NHTSA’s ongoing investigation into: (1) “spontaneous sunroof shattering” and requesting
14
     information         from        Nissan        about        its       panoramic          sunroofs
15
     (https://static.nhtsa.gov/odi/inv/2014/INIM-EA14002-63590.pdf;          accessed      December
16
     21,2016); (2) Nissan dealer field reports concerning “shattered sunroof glass” and “sunroof
17
     burst while driving” produced by Nissan on 9-5-2014 in response to NHTSA’s investigation
18

19   inquiry       (https://static.nhtsa.gov/odi/inv/2014/INRD-EA14002-60025P.pdf;          accessed

20   December 21, 2016); (3) consumer complaints relating to defective and “exploded” sunroofs

21   that Nissan described in a September 5, 2014 response to NHTSA’s investigation inquiry
22   (https://static.nhtsa.gov/odi/inv/2014/INRD-EA14002-60026P.pdf; accessed December 21,
23
     2016); and (4) at least fifty-seven NHTSA complaints relating to the shattering of Nissan
24
     vehicle sunroofs lodged from October 29, 2008 through August 11, 2015 [the end date
25
     occurring before any Plaintiff purchased or leased his or her Nissan vehicle at issue]
26
     (http://www-odi.nhtsa.dot.gov/owners/SearchSafetyIssues; accessed December 21, 2016).
27

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 1   Nissan’s conduct violates federal, California, New York, Colorado, Florida, and Illinois

 2   consumer protection and warranty laws. On behalf of the California, New York, Colorado,
 3   Florida, and Illinois State Classes that Plaintiffs propose to represent, Plaintiffs seek an award
 4
     of damages and appropriate equitable relief, including an order enjoining Nissan from
 5
     continuing to sell vehicles with defective panoramic sunroofs and requiring Nissan to disclose
 6
     the defect to current owners of the Class Vehicles (defined below) and repair their vehicles
 7
     with non-defective panoramic sunroofs.
 8

 9                                     II.        PARTIES

10   Sherida Johnson is a citizen and resident of Murrieta, Riverside County, California.

11   Subrina Seenarain is citizen and resident of Schenectady, Schenectady County, New York.

12   Chad Loury is a citizen and resident of Azusa, Los Angeles County, California.
13   Linda Spry is a citizen of Hylands Ranch, Douglas County, Colorado.
14
     Lisa Sullivan is a citizen of Dunedin, Pinellas County, Florida
15
     April Ahrens is a citizen of Herrin, Williamson County, Illinois.
16
     Plaintiff Janelle Horne is a citizen of Shingle Springs, El Dorado County, California.
17
     Nissan North America, Inc. is a California corporation with its headquarters and principal place
18

19   of business in Franklin, Tennessee.

20   At all times relevant to this action, Nissan designed, manufactured, marketed, distributed, and

21   warranted the vehicles at issue in the State of California and throughout the United States.
22                        III.        JURISDICTION AND VENUE
23
     This Court has jurisdiction over this class action under the Class Action Fairness Act, 23 U.S.C.
24
     § 1332(d). There are at least one hundred members of the proposed classes. The aggregated
25
     claims of the individual Class Members exceed the sum value of $5,000,000.00, exclusive of
26

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 1   interest and costs, and this is a class action in which Nissan and more than two-thirds of the

 2   proposed Classes are citizens of different states.
 3   This Court may exercise jurisdiction over Nissan because it is registered to conduct business
 4
     in California (e.g., California Secretary of State Entity Number: C0403111), it has sufficient
 5
     minimum contacts in California, and it intentionally avails itself of the markets within
 6
     California through the promotion, sale, marketing, and distribution of its vehicles, thus
 7
     rendering jurisdiction by this Court proper and necessary.
 8

 9   Subject-matter jurisdiction also arises under Magnuson-Moss Warranty Act claims asserted

10   under 15 U.S.C. § 2301, et seq.

11   Venue is proper in this District under 28 U.S.C. § 1391 because Nissan transacts business in

12   this District, and a substantial part of the events or omissions giving rise to Plaintiffs’ and
13
     proposed Class Members’ claims occurred in this District. Additionally, Nissan distributes in
14
     this district, receives substantial compensation and profits from sales, maintenance and service
15
     of affected vehicles in this District, and has and continues to conceal and make material
16
     omissions in this District so as to subject it to in personam jurisdiction in this District.
17
                         IV.         SUBSTANTIVE ALLEGATIONS
18

19       A. The Nissan Panoramic Sunroof Defect

20   Defendants manufacture, market, and distribute mass produced automobiles in the United

21   States under the Nissan brand name.
22   The Nissan automobile models that are the subject of this case are the 2008-present Rogue,
23
     Maxima, Sentra, Pathfinder, and Altima models; 2009-present Murano models; and 2011-
24
     present Juke models with factory-installed panoramic sunroofs (collectively, the “Class
25
     Vehicles”). Plaintiffs anticipate amending the Class Vehicles definition upon Nissan
26

27

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 1      identifying in discovery all of its vehicles manufactured and sold with the panoramic sunroof

 2      feature.
 3      Starting in at least the 2008 model year, Nissan introduced vehicles with an optional upgrade
 4
        of a factory-installed panoramic sunroof.
 5
        At that time, panoramic sunroofs were relatively new; these sunroofs are both wider and longer
 6
        than traditional sunroofs, covering most of the vehicle’s roof. See an example description from
 7
        Nissan’s marketing of the “massive” feature in its 2017 Nissan Maxima:
 8

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18
     (https://www.nissanusa.com/buildyournissan/vehicle-
19
     images/2017/MAX/XGC70NIC051C0/13ca05699b6f32dda734c4ae53b91dba/Maxima/SL/D
20
     ual-Panel-Panoramic-Moonroof/Interior; accessed December 22, 2016.)
21
        Nissan generally markets the panoramic sunroofs as a luxury upgrade and charges several
22
        thousand dollars for the upgrade. See an example advertisement for the panoramic sunroof
23

24      feature as part of the “Premium” package offered by Nissan in its 2016 Nissan Murano:

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20   (http://cdn.dealereprocess.com/cdn/brochures/nissan/2016-murano.pdf; accessed December
21   22, 2016.)
22
        The actual material cost of the panoramic sunroofs is relatively low, making the option one of
23
        the most profitable features in the automotive industry.
24
        Panoramic sunroofs are made of tempered or laminated glass that attaches to tracks, which in
25
        turn are set within a frame attached to the vehicle.
26
        Most panoramic sunroofs, including those offered by Nissan, include a retractable sunshade.
27

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 1      The panoramic sunroofs in all of Nissan’s models are substantially similar in design and

 2      manufacture. Examples of Nissan’s panoramic sunroofs appear in the photographs below:
 3                    a. 2008 Nissan Maxima
 4

 5

 6

 7

 8

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10

11
     (http://www.motorologist.com/wp-content/uploads/2008-Nissan-Maxima-brochure.pdf;
12
     accessed December 22, 2016.)
13
                      b. 2014 Nissan Pathfinder
14

15

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25      (http://blog.tischerauto.com/tag/2014-nissan-pathfinder/; accessed December 22, 2016.)
26

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 1                c. 2015 Nissan Rogue

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13   (http://www.nissanofreno.com/2015-reno-nissan-models/nissan-rogue/features-
14   interior.html; accessed December 22, 2016.)
15                d. 2016 Nissan Murano

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26   (http://www.colenissan.com/New-2016-Nissan-Murano-Bluefield-WV;

27   accessed December 22, 2016.)

28                                            9
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 1                     e. 2017 Nissan Rogue

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13   (https://www.nissanusa.com/crossovers/rogue/features; accessed December 22, 2016.)
14
        Panoramic sunroofs, like these, present manufacturing, design, and safety challenges for
15
        manufacturers because the large plates of glass take up much of the surface area of the vehicle’s
16
        roof.
17
        One of the challenges is the material make-up of the glass. Whereas some manufacturers, such
18

19      as Volvo and Honda, have used a laminated glass, other manufacturers, such as Nissan, Ford,

20      Kia, Hyundai, and Nissan, have opted to install panoramic sunroofs with tempered glass that

21      features large areas of ceramic paint.
22      In the automotive industry, tempered or toughened glass is made generally in the same manner:
23
        a piece of annealed glass is shaped and cut as to original equipment manufacturing (“OEM”)
24
        standards. The glass is heated and then rapidly cooled, i.e., tempered. The tempering process
25
        creates an outer layer of compression shrink-wrapped around the middle of the glass that is
26
        constantly pressing outwards, otherwise known as causing tension or tensile force. The
27

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 1   compressive and tensile layers create a stronger piece of glass as compared to non-tempered

 2   glazing. If the compressive layer is compromised, however, the entire piece of glass fails
 3   catastrophically, and often explosively.
 4
     The problems with panoramic sunroofs are compounded by automakers,’ including Nissan’s,
 5
     use of thinner glass. Nissan, as well as other manufacturers, use thinner glass in panoramic
 6
     sunroofs to save weight and thus improve fuel efficiency because Nissan, like other automobile
 7
     manufacturers, are under mandates to improve fuel efficiency. Thinner glass, however, is very
 8

 9   difficult to temper properly (especially when thicknesses are 4mm or less) as the compressive

10   layers are thinner, increasing the probability for the glass to be compromised and result in

11   catastrophic failure.

12   Additionally, the tempered glass used in Nissan sunroofs in the Class Vehicles features a
13
     ceramic paint applied prior to tempering. Automotive ceramic paint or ceramic enamels are
14
     composed of fine powders of low melting glass frit fluxes (ground glass), pigments, and other
15
     additive oxides, sulfides, or metals. After application of the ceramic enamel, the glass is then
16
     tempered, as described above. These ceramic enamels are applied on the top around the edges
17
     of panoramic sunroof glazing and serve aesthetic and functional purposes. The ceramic paint
18

19   area appears as a “black band” along the edge of the glass.

20   Ceramic enamels are known “adulterants” in automotive glass tempering and these adulterants

21   significantly weaken the structural strength and integrity of the Class Vehicles’ tempered
22   panoramic sunroof glazing. Among other factors, ceramic enamels compromise glass strength
23
     because: (1) the enamels have different thermal expansion coefficients than the glass substrates
24
     (the glass and the paint expand at different rates), resulting in residual stress between the
25
     ceramic enamel and the glass substrate and (2) the glass frit will ion exchange with the glass
26

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 1   substrate lessening or eliminating the compressive layer above the tensile region thereby

 2   significantly weakening it.
 3   The ceramic paint area was relatively small in conventional sunroofs, but ceramic paint areas
 4
     have become larger with the advent of panoramic sunroofs and the result is that the glass has
 5
     become progressively weaker – more likely to spontaneously burst or explode – and, for the
 6
     unsuspecting driver and passengers, more dangerous.
 7
     In 2013, the Korea Automobile Testing & Research Institute (“KATRI”), a vehicle safety
 8

 9   testing institute, concluded that the enamel used for ceramic paint areas in panoramic sunroofs

10   like those installed in Nissan vehicles impairs the strength of the glass, making the glass not

11   only less durable than the usual toughened glass, but also less durable than ordinary glass.

12   Following KATRI’s report, an Informal Working Group on Panoramic Sunroof Glazing was
13
     established by the United Nations Economic Commission for Europe to evaluate the safety of
14
     panoramic sunroofs. The Working Group is chaired by a representative from KATRI and was
15
     assembled to assess whether to amend the UN regulations on safety glazing. At the end of June
16
     2016, the Working Group confirmed that conventional automotive glass enamels weaken the
17
     mechanical strength of panoramic sunroof glazing.
18

19   Another challenge presented by the panoramic sunroofs is the need to ensure the sunroof glass

20   is fastened to the vehicle with a sufficient degree of tightness. Nissan and other manufacturers

21   seek to fasten the sunroof in a manner that reduces road and wind noise, as well as to make the
22   sunroofs less susceptible to leaking rainwater. At the same time, the sunroof may be weakened
23
     with the application of pressure, as flexing and vibration caused during ordinary driving can
24
     impose stress and ultimately lead to shattering the glass.
25
     In the Nissan models at issue, the compromised tempered glass cannot withstand the pressures
26
     and flexing that the sunroof frame and vehicle demand, even when the vehicle and sunroof are
27

28                                                12
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 1    brand new. The consequence is that under ordinary driving conditions, and in some instances

 2    when the vehicle is parked or not otherwise in motion, the glass spontaneously shatters.
 3       B. Consumer Complaints Reveal the Magnitude of the Defect
 4
      At least 105 Nissan vehicle owners reported an incident of their sunroof shattering to NHTSA.
 5
      A brief summary of consumer complaints appear below:
 6
        Date of       Date of     Model     Nissan     NHTSA         NHTSA Consumer
 7     NHTSA         Incident     Year      Model        ID          Complaint Excerpt
      Complaint                                       Number
 8   3/8/2017       2/21/2017     2011     Juke       10959659 “sunroof on my 2011 Juke
 9                                                             exploded”
     2/28/2017      2/19/2017     2011     Murano     10957602 “sounding like a gun shot. . . .
10                                                             sunroof exploded”
     2/22/2017      1/24/2017     2016     Maxima     10956338 “sunroof exploded”
11   2/20/2017      2/20/2017     2016     Pathfinder 10955674 “sunroof blew up from the
                                                               inside out”
12
     2/19/2017      2/17/2017     2017     Maxima     10966485 “large bang and our sunroof
13                                                             exploded”
     2/9/2017       2/7/2017      2011     Maxima     10953711 “sounded like a gunshot. . .
14                                                             sunroof exploded”
     2/7/2017       2/2/2017      2016     Murano     10900108 “spontaneous combustion of
15                                                             moon roof while driving on
                                                               freeway”
16
     2/1/2017       2/1/2017      2008     Pathfinder 10948857 “sunroof on my vehicle
17                                                             exploded. . . sounded like a
                                                               bomb or gun had discharged”
18   1/31/2017      1/6/2017      2012     Murano     10948682 “hear a loud boom. . . front
                                                               sunroof glass is busted”
19   1/20/2017      1/19/2017     2012     Maxima     10946765 “sunroof exploded from inside
                                                               out”
20   1/20/2017      10/6/2016     2013     Altima     10946571 “sunroof exploded!. . . I heard
21                                                             a loud boom”
     1/15/2017      1/13/2017     2012     Murano     10945536 “sunroof exploded without any
22                                                             reason”
     1/12/2017      1/11/2017     2016     Rogue      10944533 “sunroof         spontaneously
23                                                             exploded”
     1/8/2017       1/1/2017   2013        Juke       10943725 “sun roof explodes”
24   12/28/2016     12/28/2016 2008        Altima     10938380 “sunroof exploded. . .
25                                                             shattered glass flew all over
                                                               interior”
26   12/1/2016      12/7/2015     2010     Rogue      10929496 "sunroof of my car (while I
                                                               was driving) exploded!"
27   11/22/2016     11/22/2016 2013        Altima     10927522 "sunroof exploded"

28                                                13
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 1   11/16/2016   11/16/2016 2012    Murano     10926518 "sunroof had exploded"
     11/7/2016    10/18/2016 2011    Altima     10924701 "sunroof exploded"
 2   11/3/2016    11/3/2016 2016     Murano     10924150 "moon                      roof
                                                         exploded/shattered"
 3
     10/26/2016   9/21/2016 2012     Altima     10919166 "sunroof glass was exploded"
 4   10/19/2016   10/11/2016 2012    Murano     10917415 "sunroof of my 2012 Nissan
                                                         Murano exploded"
 5   10/7/2016    7/20/2016   2014   Maxima     10914504 "sunroof exploded twice"
     10/4/2016    8/4/2016    2014   Murano     10913846 "opened shade to sunroof and
 6                                                       found that glass had exploded
                                                         upward and shattered"
 7
     10/3/2016    12/7/2015   2010   Rogue      10913565 "thought someone shot at my
 8                                                       car!...it was my sunroof that
                                                         was coming apart"
 9   9/8/2016     9/3/2016    2014   Rogue      10904604 "sunroof explodes, shatters"
     8/27/2016    8/27/2016   2010   Maxima     10901989 "panoramic sunroof exploded
10                                                       outward"
11   8/5/2016     7/21/2016   2016   Murano     10893526 "sunroof exploded"
     7/23/2016    7/8/2016    2015   Altima     10887973 "sunroof exploded/shattered
12                                                       for no apparent reason"
     6/22/2016    6/21/2016   2015   Rogue      10875763 "panoramic      sunroof     had
13                                                       shattered into little pieces of
                                                         glass"
14   6/20/2016    6/18/2016   2015   Murano     10875213 "moon roof 'exploded'"
15   6/15/2016    6/13/2016   2011   Maxima     10874398 "sunroof exploded"
     5/24/2016    5/19/2016   2014   Maxima     10870531 "sunroof exploded"
16   5/20/2016    5/17/2016   2015   Murano     10869976 "sunroof exploded"
     5/9/2016     5/6/2016    2013   Sentra     10864022 "sunroof appeared to have
17                                                       exploded"
     5/7/2016     5/6/2016    2016   Maxima     10863699 "sunroof was shattered"
18
     4/26/2016    4/22/2016   2012   Maxima     10861458 "sunroof              exploded
19                                                       spontaneously"
     4/8/2016     2/16/2016   2015   Pathfinder 10854479 "sunroof shattered into many
20                                                       pieces"
     3/30/2016    9/12/2015   2012   Murano     10852547 "sunroof glass broke for no
21                                                       apparent reason"
     3/10/2016    3/5/2016    2015   Pathfinder 10846054 "suddenly      our      sunroof
22
                                                         exploded"
23   1/9/2016     1/9/2016    2011   Maxima     10819168 "panoramic sunroof suddenly
                                                         exploded out of nowhere"
24   12/29/2015   12/16/2015 2013    Altima     10816880 "sunroof exploded"
     12/10/2015   12/8/2015 2014     Maxima     10809463 "sunroof was shattered"
25   11/24/2015   11/23/2015 2011    Maxima     10806483 "sunroof busted while I was
26                                                       driving"
     11/16/2015   11/15/2015 2010    Murano     10790760 "sunroof exploded"
27   10/13/2015   10/12/2015 2013    Altima     10781698 "sunroof glass exploded"

28                                         14
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 1   9/14/2015    5/4/2015    2015   Pathfinder 10763594 "moon roof had shattered"
     8/11/2015    5/21/2015   2015   Rogue      10747827 "sunroof was completely
 2                                                       shattered"
     8/8/2015     7/1/2013    2014   Rogue      10747202 "sunroof exploded"
 3
     8/7/2015     6/18/2015   2010   Murano     10746996 "moon roof blew up"
 4   8/5/2015     8/3/2015    2014   Rogue      10746442 "sunroof explosion"
     8/3/2015     7/30/2015   2014   Pathfinder 10745896 "I hear what sounds like an
 5                                                       explosion….glass was gone
                                                         from the center of my sunroof"
 6   7/15/2015    6/25/2015   2009   Murano     10734238 "sunroof      glass    literally
                                                         exploded outward"
 7
     7/13/2015    7/12/2015   2009   Rogue      10733762 "sunroof exploded"
 8   6/26/2015    6/25/2015   2012   Altima     10730510 "sunroof         spontaneously
                                                         exploded"
 9   5/21/2015    5/17/2015   2012   Sentra     10717879 "sunroof glass shattered"
     5/12/2015    3/16/2015   2007   Maxima     10715989 "moon rood exploded"
10
     4/28/2015    4/25/2015   2012   Murano     10713272 "sunroof exploded"
11   4/1/2015     3/28/2015   2011   Sentra     10703144 "heard an explosion….saw a
                                                         huge hole in the sunroof and
12                                                       the remaining window was
                                                         shattered"
13   3/24/2015    3/23/2015   2015   Altima     10701307 "sunroof apparently exploded"
     2/23/2015    2/22/2015   2011   Maxima     10689956 "sunroof 'exploded'"
14
     2/17/2015    2/13/2015   2009   Murano     10683749 "sunroof over driver and
15                                                       passenger      seats    literally
                                                         exploded"
16   1/5/2015     1/4/2015    2009   Murano     10670015 "sunroof on my 2009 Murano
                                                         exploded"
17   11/28/2014   11/25/2014 2009    Murano     10661179 "sunroof shattered without
                                                         warning"
18
     11/4/2014    11/3/2014 2012     Sentra     10652611 "sunroof exploded"
19   11/3/2014    10/28/2014 2009    Maxima     10652006 "sunroof      glass    abruptly
                                                         fractured"
20   10/7/2014    10/6/2014   2013   Juke       10641939 "sunroof had shattered"
     10/3/2014    9/29/2014   2011   Murano     10641082 "sunroof of my 2011 Nissan
21                                                       Murano exploded suddenly"
22   10/1/2014    9/24/2014   2012   Sentra     10640510 "I heard a loud explosion,
                                                         sounded like a gunshot. Then I
23                                                       noticed the car sunroof pieces
                                                         shattered all over"
24   9/17/2014    9/16/2014   2012   Murano     10637055 "sunroof literally exploded
                                                         upward for no reason"
25   9/2/2014     3/15/2014   2013   Sentra     10630114 "exploded sunroof"
26   8/22/2014    8/21/2014   2009   Murano     10627566 "sunroof on the 2009 Murano
                                                         exploded"
27   7/21/2014    7/20/2014   2011   Maxima     10614894 "moon roof imploded"

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 1   6/23/2014    6/23/2014   2012   Sentra     10605360 "sunroof shattered"
     6/18/2014    6/9/2014    2013   Pathfinder 10599068 "sunroof exploded outward"
 2   6/6/2014     5/25/2014   2009   Rogue      10596713 "sunroof exploded on the
                                                         highway without notice"
 3
     6/2/2014     6/2/2014    2012   Sentra     10595476 "sunroof shattered"
 4   5/29/2014    5/26/2014   2013   Altima     10594715 "entire sunroof had blown out"
     4/30/2014    4/26/2014   2012   Murano     10585763 "heard a very loud startling
 5                                                       sound, which sounded like a
                                                         gunshot and what I thought I
 6                                                       heard along with a smash
                                                         noise….it was your sunroof"
 7
     4/10/2014    4/8/2014    2009   Maxima     10578895 "sunroof glass made a loud
 8                                                       noise and the glass shattered
                                                         above my head"
 9   3/31/2014    3/29/2014   2011   Murano     10575918 "suddenly the roof just
                                                         exploded"
10   2/7/2014     2/7/2014    2012   Sentra     10563356 "heard a loud noise like an
                                                         explosion and heard glass
11
                                                         cracking and looked at
12                                                       sunroof. It had exploded and
                                                         burst into pieces"
13   1/8/2014     1/2/2014    2013   Juke       10559119 "sunroof exploded upward"
     12/19/2013   12/6/2013   2012   Murano     10556614 "sunroof exploded"
14   12/10/2013   12/5/2013   2010   Pathfinder 10555529 "shattering sunroof"
15   9/20/2013    9/7/2013    2010   Murano     10544549 "sunroof exploded leaving a
                                                         round, upward protruding
16                                                       glass hole larger than a
                                                         basketball"
17   7/19/2013    7/18/2013   2011   Murano     10525702 "sunroof      glass    literally
                                                         exploded!"
18   7/5/2013     7/4/2013    2012   Sentra     10523304 "suddenly       moon       roof
                                                         exploded"
19
     4/25/2013    4/24/2013   2008   Sentra     10509560 "sunroof glass appeared to
20                                                       have 'exploded'"
     4/22/2013    4/20/2013   2012   Altima     10509152 "sunroof shattered without
21                                                       warrant"
     3/28/2013    2/21/2013 2009     Murano     10504856 "sunroof exploded outward"
22   1/20/2013    1/11/2012 2010     Murano     10493536 "sunroof exploded"
23   11/25/2012   11/18/2012 2011    Murano     10485963 "sunroof exploded (it sounded
                                                         like a gunshot went off)"
24   11/18/2012   11/17/2012 2013    Altima     10485641 "moon roof spontaneously
                                                         exploded"
25   10/7/2012    10/2/2012   2012   Murano     10478938 "moon roof inexplicably
                                                         exploded from inside out"
26   3/13/2012    3/10/2012   2011   Murano     10451414 "sunroof shattered"
     9/13/2011    9/12/2011   2011   Murano     10425334 "moon roof had exploded"
27

28                                          16
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 1       9/9/2011         9/6/2011      2011      Murano        10424454 "sunroof exploded"
         7/3/2011         7/2/2011      2009      Murano        10410329 "sunroof exploded out"
 2       5/18/2011        5/11/2011     2010      Maxima        10401448 "sunroof exploded"
         2/1/2011         1/21/2011     2009      Altima        10379898 "sunroof glass had shattered
 3
                                                                         (more like exploded) leaving
 4                                                                       about a 2 foot circular hole in
                                                                         the glass"
 5       11/4/2010        10/16/2010 2010         Murano        10363977 "glass of the sunroof suddenly
                                                                         and spontaneously shattered
 6                                                                       into bits"
         10/8/2010        10/4/2010     2009      Murano        10359683 "sunroof suddenly exploded
 7
                                                                         and shattered"
 8       10/29/2008*      10/19/2008 2005  Maxima               10247175 "moon roof suddenly implode"
                                           *Skyview
 9                                         Roof:
                                           precursor
10                                         to
                                           panoramic
11                                                                                      2
     (http://www-odi.nhtsa.dot.gov/owners/SearchSafetyIssues; accessed March 12, 2017).
12
          Below are full text examples of the complaints lodged with NHTSA. The complaints are also
13
                                                   3
          viewable online at www.safercar.gov.
14

15                        a. 2008 Nissan Rogue:

16                     Glass from moonroof exploded/shattered to pieces while driving.

17                     Temperature was 50 degrees, speed of 60 mph, nothing hit the glass
18                     to cause it to break. Took delivery of the car 1 week prior to incident.
19
                       Dealer replaced glass and said it was defective. (NHTSA ID:
20
                       10230496 – Date Complaint Filed: 06/10/2008)
21

22

23
     2 The searches yielding these results can be replicated by accessing the cited website address,
24
     selecting “Keyword (Complaints Only),” entering the word “sunroof” in the available text box,
25   selecting 2000 from the “Start” dropdown box, selecting 2016 from the “End” dropdown box,
     selecting Nissan from the “Make” dropdown box, and then depressing the “GO” button. Repeat
26   these same steps replacing the term “sunroof” with the term “moonroof.”
     3 These consumer complaints are reproduced verbatim and include uncorrected spelling and
27   grammatical errors in the original.
28                                                        17
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 1                   b. 2008 Nissan Altima:

 2                On March 22, 2008 at approximately 1:30 PM I was driving my
 3                2008 Nissan Altima down Knik-Goose Bay RD in Wasilla Alaska
 4
                  when my moon/sun roof blow out. I had just speed up to about 50
 5
                  MPH and had no other vehicles in my immediate vicinity when I
 6
                  heard a loud pop and glass falling on me. After the glass had fallen
 7
                  on me I reached over and felt my check where I noticed a ¾ inch
 8

 9                gash in my face with blood pouring out of it. Luckily I was able to

10                keep my composure and keep my vehicle on the road. The

11                dealership nor Nissan USA could and still has not given me an

12                explanation on why or how this could have happened. (NHTSA ID:
13                                                                4
                  10222188 – Date Complaint Filed: 03/24/2008)
14
                     c. 2009 Nissan Murano:
15
                  Sunroof exploded out while traveling at highway speed (70 mph) at
16
                  approximately 0930 am. Weather conditions: clear and sunny. Road
17

18                conditions: dry and smooth, no debris. No other vehicles to the front

19                or sides so it is impossible to be road debris damage such as rocks

20                or other debris. Appears to be a product or design defect. (NHTSA
21                ID: 10410329 – Date Complaint Filed: 07/03/2011)
22
                     d. 2009 Nissan Murano:
23
                  My sunroof over driver and passenger seats literally exploded while
24
                  driving on interstate – sunny 38 degree day, not under a bridge or
25

26
     4The narrative for this consumer complaint is taken from a document accompanying NHTSA
27   complaint.
28                                                 18
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 1           near other cars. The noise was deafening, and glass came crashing

 2           on my (the driver) head and on the children in the back seat. The
 3           roof was exploded upward like a volcano. Nothing hit the roof, as
 4
             we were shaken but able to pull over and check the car for any
 5
             evidence of something crashing into sunroof. But the roof exploded
 6
             upward and outward as it became obvious that a large chunk of glass
 7
             from roof was missing. The sunroof was closed, but the sun shade
 8

 9           was open. Reported the problem to Nissan, but they have yet to get

10           back to me. This is a major problem and a huge safety concern. This

11           problem seems to stem from a pressure problem within the Murano.

12           This is extremely dangerous!! Sunroof is being replaced, but I’m
13
             now terrified to drive my car, seeing as how this can happen again,
14
             and we may not be as fortunate to pull over safely and make it to the
15
             side of road! Nissan must deal with this problem! This can
16
             potentially be a fatal flaw on the Murano. (NHTSA ID: 10683749C
17
             – Complaint Filed: 02/17/2015)
18

19              e. 2009 Nissan Altima:

20           I have a 2009 Nissan Altima with just over 13000 miles on it. Last

21           week as I was driving to work at about 65 mph I heard what sounded
22           like a shotgun blast over my head. The sunroof glass had shattered
23
             (more like exploded) leaving about a 2 foot circular hole in the glass.
24
             At first I thought something must have hit me but when I pulled over
25
             I could obviously see that the glass was mushroomed out as if it had
26
             exploded from the inside out, not pushed in. I took the car to my
27

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 1           Nissan dealer and they agreed that that there was no evidence that

 2           anything had hit the glass and that it had simply spontaneously
 3           shattered. They also pointed out chips in the paint on the roof and
 4
             trunk lid caused by the pieces of broken glass. After first denying
 5
             any coverage, Nissan now has agreed to pay for the new glass as a
 6
             “goodwill repair” but they still refuse to pay for installation or the
 7
             paint damage. The dealership picked up the installation and my
 8

 9           insurance company is covering the $2500 of paint damage. I did

10           contact Nissan consumer affairs to appeal their decision but was

11           very curtly denied again. (NHTSA ID: 10379898 – Date Complaint

12           Filed: 02/01/2011)
13
                f. 2009 Nissan Rogue:
14
             I was driving on the highway nothing more than 50 mph and my
15
             sunroof exploded on the highway without notice. The glass cut my
16
             skin on my hand. And was a loud exploding sound. As I done
17
             research on my exploding sound roof incident on google on the
18

19           internet. I found out I was not the only one that has experienced this

20           sunroof glass exploding while driving. Nothing fell on my car. But

21           caused glass to fall on me and almost a accident from shock of this
22           happening. I am begging you to please make the 2009 Nissan Rogue
23
             sunroofs a recall. Because I was lucky enough not to die. But there
24
             may not be someone else that is luck. I just got glass cuts. I spoke to
25
             Nissan and they told me 800 dollars to fix a manufacture defect.
26
             (NHTSA ID: 10596713 – Date Complaint Filed: 06/06/2014)
27

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 1              g. 2010 Nissan Murano:

 2           2010 Nissan Murano. While driving on highway, the glass of the
 3           sunroof suddenly and spontaneously shattered into bits. It was not
 4
             hit by any object, as traffic was clear on the highway and there was
 5
             no overpass in the area. Nissan said they found no manufacturer’s
 6
             defect, and my insurance would not cover it as glass. I paid for repair
 7
             out of pocket. (NHTSA ID: 10363977 – Date Complaint Filed:
 8

 9           11/04/2010)

10              h. 2010 Nissan Murano:

11           For the second time in 6 months, my sunroof exploded. The first

12           time was in July, 2012, and I will file a separate report for that
13
             incident. Both times the dealer said they were not responsible. Out
14
             of the blue, it sounded like a gun shot, it was so loud. The glass was
15
             pushed up with the force, with a big circle of glass missing. I was
16
             not following another car and there was no stone kicked up as
17
             claimed by the dealer. With the cold air outside, the glass was
18

19           pushed up with the pressure. The first time it happened was in the

20           summer, and with the pressure the glass was pushed inward. This

21           seems to be a design flaw, as many others on the internet have
22           claimed the same problem, even though the dealers claim they have
23
             not heard of this problem. This problem should not be ignored, as
24
             sooner or later this issue will result in serious accidents, possibly a
25
             fatality, and it would be difficult for Nissan to say they were not
26
             aware of this problem. It is outrageous that I am afraid to drive this
27

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 1           car when at any time, the sun roof may once again explode for no

 2           apparent reason. This dangerous situation is not what I signed up for
 3           when I bought this car and I am upset that this problem is not being
 4
             acknowledged by Nissan. (NHTSA ID: 10493536 – Date Complaint
 5
             Filed: 01/20/2013)
 6
                i. 2011 Nissan Murano:
 7
             Sunroof of my 2011 Nissan Murano exploded suddenly while
 8

 9           driving down the highway on a clear day and no other cars in the

10           area. The malfunction of the sunroof exploding caused the sunroof

11           glass to protrude outward into a done shape while glass pieces

12           shattered into the cabin of the Murano. Upon contacting the Nissan
13
             dealer, they referred me to the national Nissan customer service
14
             number, but after 4 days I am still waiting on a call back from the
15
             regional Nissan office. This is a major safety issue that Nissan must
16
             take responsibility for correcting as soon as possible. (NHTSA ID:
17
             10641082 – Date Complaint Filed: 10/03/2014)
18

19              j. 2011 Nissan Maxima:

20           The rear glass panel of sunroof “exploded’ with chunks of glass

21           coming off the panel and over the next few hours the entire panel
22           exhibited major cracking throughout. Sunroof was closed at the time
23
             and outside temperature was about 45 degrees. Wife was slowing on
24
             highway to turn into driveway. She stated the nearest vehicle was
25
             over ¼ mile ahead of her so no possibility of rock being thrown from
26
             their tires. Sounded like a shotgun blast in the car when it occurred.
27

28                                             22
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 1           Since it was the back panel no glass fell into the car that we could

 2           see. (NHTSA ID: 10689956 – Date Complaint Filed: 02/23/2015)
 3              k. 2012 Nissan Murano:
 4
             I was traveling on the interstate at 75mph when I heard a loud boom.
 5
             I looked around and discovered that the moonroof had shattered. It
 6
             was a sunny day and there was no traffic around. The glass is broken
 7
             around the edges of the glass. There is no sign of impact anywhere
 8

 9           on the glass. (NHTSA ID: 10682170 – Date Complaint Filed:

10           02/09/2015)

11              l. 2012 Nissan Sentra:

12           My sunroof exploded on my 2012 Nissan Sentra. It was parked in
13
             my driveway and all the sudden it just exploded. There was no
14
             reason for this to happen. No one was around it, no rocks, limbs,
15
             hail, no bad weather, or anything. (NHTSA ID: 10652611 – Date
16
             Complaint Filed: 11/04/2014)
17
                m. 2012 Nissan Altima:
18

19           When I was driving my Nissan Altima 2012 car on 1-625 in Dallas

20           at 2pm CST at around 65 mph speed, I heard huge explosion sound

21           on top of my head. I turned on the hazard light and slowed down the
22           car and pulled over to a shoulder and checked the car. Sunroof glass
23
             was exploded and I have seen a 4 inch diameter hole and scatter
24
             glass pieces; rest of the glass was also broken/cracked. There was
25
             no vehicle at the time the incident occurred and it was not due to the
26
             external forces, it was due to internal pressure between the glass and
27

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 1           visor. I was so scared when the glass exploded but luckily escaped

 2           from the bodily injuries. The sunroof glass on the Nissan Altima
 3           2012 is for sure defective product. Please investigate and save the
 4
             lives of the drivers. I’m not expecting any financial compensation
 5
             from Nissan or anybody. I don’t want this to happen to anybody
 6
             please investigate and save drivers. (NHTSA ID: 10919166 – Date
 7
             Complaint Filed: 10/26/2016)
 8

 9              n. 2012 Nissan Sentra:

10           Spouse parked and waiting in the car at airport arrival curb around

11           8:30PM. As I was walking toward the car, I heard a loud explosion,

12           sounded like a gunshot. Then I noticed the car sunroof pieces
13
             shattered all over. No cars passing by. Temp around 90F. Luckily
14
             no passengers close by to the car. Spouse was in shock and luckily
15
             the sunroof cover was closed. I could not find a cause other than
16
             suspecting this is a vehicle manufacturing defect. The only damage
17
             part was sunroof itself. This is a serious safety issue that deem a
18

19           safety recall of sunroof replacement. Luckily no one was injured.

20           Reported the issue to Nissan Consumer Affair and waiting to hear

21           back from them. (NHTSA ID: 10640510 – Date Complaint Filed:
22           10/01/2014)
23
                o. 2013 Nissan Pathfinder:
24
             On June 9, 2014, at approximately 9:15 AM while driving down
25
             Crain Hwy on Route 5 with my sunroom retracted. Without warning
26
             I heard this loud explosion. I thought I had a blown tire or someone
27

28                                            24
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 1           shot at me. I kept driving for about a half a mile until I got to a traffic

 2           light. While waiting for the light to turn green, I looked up and saw
 3           that there was noise coming from my 2013 Nissan Pathfinder
 4
             Platinum sunroof. I closed the sunroof slide because I didn’t want
 5
             any glass to fall on me or into my vehicle. Once I arrived at church,
 6
             I pulled my sunroof forward to see what was going on. The sunroof
 7
             exploded outward and all the glass landed inside the headliner
 8

 9           because my sunroof was retracted, there weren’t any cars in front of

10           me for a rock or some other hard object to hit the sunroof, and there

11           wasn’t an overpass for something to fall down from up top. On June

12           11th, I brought my SUV into Tischer Nissan Service Manager so they
13
             could see my vehicle and repair the damaged sunroof. My vehicle
14
             has 23,200 miles on it. I showed him stacks of complaints about this
15
             sunroof defect and safety issue. I was told that Nissan Regional
16
             Manager decided that Nissan wasn’t going to pay for my damaged
17
             sunroof. The justification was maybe a semi truck may have kicked
18

19           a rock inside the sunroof and over a period of time, the rock put

20           pressure on the pressure point of the glass which caused the glass to

21           explode. He told me to contact my insurance company. Quite
22           frankly that is an insult to my intelligence. On June 11th, I contacted
23
             Nissan Consumer Affairs. I was given a case #. On June 17th, I was
24
             informed that my sunroof damage would not be covered under
25
             warranty because there are no known defects, something hard must
26

27

28                                               25
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 1           have it, it is temper glass, and to contact my insurance. (NHTSA ID:

 2           10599068 – Date Complaint Filed: 06/18/2014)
 3              p. 2013 Nissan Altima:
 4
             The contact owns a 2013 Nissan Altima. The contact stated that
 5
             while driving at approximately 65 MPH, the sunroof exploded and
 6
             small particles of glass shattered outside of the vehicle. The sunroof
 7
             sliding cover was closed when the failure occurred. The vehicle was
 8

 9           maneuvered to the side of the road. The vehicle was taken to the

10           dealer where the entire sunroof was replaced. The manufacturer was

11           notified of the failure. The approximate failure mileage was 49,000.

12           (NHTSA ID: 10816880 – Date Complaint Filed: 12/29/2015)
13
                q. 2013 Nissan Juke:
14
             The vehicle was parked. Driver got in and closed the door. After
15
             hearing an odd sound of something raining down on the roof area,
16
             driver got out and discovered that the sunroof had shattered. Since
17
             the sunroof shade was closed, the glass did not enter the vehicle.
18

19           (NHTSA ID: 10641939 – Date Complaint Filed: 10/07/2014)

20              r. 2013 Nissan Juke:

21           The vehicle was parked. When the driver’s side front door was shut,
22           the sunroof exploded upward. The explosion sounded like a
23
             gunshot. The sunroof shattered completely into small pieces. The
24
             sunroof visor was closed, so the glass shards did not enter the
25
             vehicle. (NHTSA ID: 10559119 – Date Complaint Filed: 1/08/2014)
26

27

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 1              s. 2014 Nissan Maxima:

 2           I was driving along the highway on a sunny day, about 75 degrees
 3           Fahrenheit, going approximately 65 MPH when I heard a loud
 4
             exploding type of noise. The next thing I know I hear rattling
 5
             overhead. I don’t live far from where the incident happened so
 6
             continued to drive .25 miles approximately to my residence and
 7
             immediately get out to inspect my vehicle. The sunroof was
 8

 9           shattered into a million pieces and there was a huge hole right in the

10           middle of it. I had not opened the sunroof while driving so the visor

11           was thankfully closed when it broke. (NHTSA ID: 10809463 – Date

12           Complaint Filed: 12/10/2015)
13
                t. 2014 Nissan Maxima:
14
             2014 Nissan Maxima with 43000 miles. Sunroof exploded twice
15
             while driving on the freeway at 70 mph. Almost exact same of hole
16
             left in roof. Once on July 20th 2016 and once on August 15 2016
17
             after being replaced with OEM parts. Danger to my children in the
18

19           car and others on the road. Nissan refused to do anything after

20           calling in and speaking with the complaint department. I have since

21           repaired it a second time and returned it to the dealership – I do not
22           feel safe driving the vehicle. (NHTSA ID: 10914504 – Date
23
             Complaint Filed: 10/07/2016).
24
                u. 2015 Nissan Rogue:
25
             2015 Nissan Rogue parked in my garage. I was in driveway heard
26
             loud noise like gunshot. Looked at my car and saw that front
27

28                                             27
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 1           panoramic sunroof had shattered into little pieces of glass. Thank

 2           God I was not driving at time. (NHTSA ID: 10875763 – Date
 3           Complaint Filed: 6/22/2016)
 4
                v. 2015 Nissan Pathfinder:
 5
             While driving the vehicle on February 16, 2016, traveling south west
 6
             a state road, at approximately 40 mph, the sunroof shattered into
 7
             many pieces. The glass shards were not contained and entered the
 8

 9           vehicle, collapsing on both driver and occupants. The driver was

10           temporally incapacitated as the glass fell on her head and face. When

11           I filed a complaint with Nissan North America, they stated that the

12           sunroof operated as designed. (NHTSA ID: 10854479 – Date
13           Complaint Filed: 4/08/2016)
14
                w. 2016 Nissan Maxima:
15
             I just merged onto the highway going I-55 South from Countryline
16
             Rd, when I heard a very loud noise similar to a gun shot in close
17
             range and was literally frightening. Then I heard air seeping through
18

19           my sunroof area so I pulled over on the side of the highway because

20           I started to shake uncontrollably and I had my 7 month old in the car

21           as well. I was able to look on top of the car and saw that the front
22           sunroof was shattered. I immediately took the vehicle to Gray
23
             Daniels Nissan North in Jackson, MS. They told me that this will
24
             have to fall under my insurance but I don’t understand why. This is
25
             a defect on how this model car handles pressure causing the sunroof
26

27

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 1             to explode! My ears and hear are aching fur to the explosive sound.

 2             (NHTSA ID: 10863699 – Date Complaint Filed: 05/07/2016)
 3                 x. 2016 Nissan Maxima:
 4
               Sunroof exploded while driving. No objects fell onto the car. We
 5
               had no idea what the loud bang/exploding sound was until we were
 6
               able to safely pull off the road and evaluate. The hole was not
 7
               inward, like something fell into it, but the glass was pushed upwards.
 8

 9             We were on a 4-lane straightaway going maybe 35 or 40 mph and

10             not under any bridges, trees, etc. No vehicles around us, etc. It was

11             about 8:30pm in July in South Carolina. The noise was very loud

12             and very startling! (NHTSA ID: 10893526 – Date Complaint Filed:
13
               8/05/2016)
14
                   y. 2017 Nissan Juke:
15
               Drivng down the road in our community all of a sudden a large bang
16
               and our sunroof exploded. (NHTSA ID: 10955485 – Date
17
               Complaint Filed: 2/19/2017)
18

19                 z. 2013 Infiniti G37:

20             While driving on Sept 15 from Raleigh, NC to Charleston, SC the

21      sunroof on my Infiniti G37 shattered. It was a clear sunny day with a temp
22      about 80 degrees and to the best of my knowledge there was no foreign
23
        object that hit the car. I purchased the car new from the Infiniti dealer in
24
        January 2015, the car has 3,200 miles and is kept in the garage at home and
25
        in a parking garage at work.
26
               (NHTSA ID: 10764026 – Date Complaint Filed: 9/15/2015)
27

28                                               29
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 1
                 aa. 2014 Infiniti Q60
 2
              Sunroof glass spontaneously exploded n shattered into small pieces
 3
             shards and glass dust without impact from anything.
 4

 5           (NHTSA ID: 10758959 – Date Complaint Filed: 8/24/2015)

 6
                 bb. 2014 Infiniti Q60:
 7
             I was driving on a highway and all of a sudden I hear a loud boom,
 8

 9           as if a gun was fired right by my ear. I almost ran into another car

10           because it startled me so. I pulled off onto a median and inspected

11           the car. I looked at my car and when I looked at the roof, I realized

12           that my sunroof was shattered. I was shocked! I was very fortunate
13
             to not have gotten into an accident. My son, who was with me was
14
             also very scared. He was worried about the other windows
15
             exploding. It was very frightening.
16
             (NHTSA ID: 10716086 – Date Complaint Filed: 5/12/2015)
17
                 cc. 2014 Infiniti Q60 Hybrid:
18

19           While driving approximately 65 miles an hour in my 2 week old

20           Infiniti Q60 I was startled by the sound of what I thought was a

21           gunshot. My husband instructed me to pull off to the side of the road
22           as he thought perhaps a tire had blown. To our surprise the sunroof
23
             had exploded. This resulted in a large hole with glass facing upward.
24
             Luckily no one was injured by the glass that entered the vehicle.
25
             *TR
26
             (NHTSA ID: 10621687 – Date Complaint Filed: 8/12/2014)
27

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 1                    dd. 2015 Infiniti QX60:

 2                 I found out on Saturday morning, that my sunroof was broken (looks
 3                 like explode from the inside out), I checked from any stones or any
 4
                   debris(that could hit my car around my driveway, but there were
 5
                   nothing around the car and there were no marks on the roof as well).
 6
                   (NHTSA ID: 10903626 – Date Complaint Filed: 9/5/2016)
 7

 8                    ee. 2015 Infiniti Q70 Hybrid: TL*
 9
                   The contact owns a 2015 Infiniti Q70 Hybrid. While driving
10
                   approximately 70 mph, the contact heard a loud pop noise. The
11
                   contact pulled over and observed that the sunroof exploded. The
12
                   vehicle was not taken to a dealer or diagnosed. The manufacturer
13

14                 was not made aware of the failure. The failure mileage was 1,000.

15                 (NHTSA ID: 10760620 – Date Complaint Filed: 9/1/2015)

16   Few, if any, of the drivers who have contacted the federal government have reported that the
17   shattering occurred because of an external object striking their vehicle.
18
        C. Nissan’s Knowledge of the Defect
19
     Nissan has long known that its panoramic sunroofs are prone to unexpected and dangerous
20
     shattering.
21
     Like other automobile manufacturers, Nissan monitors NHTSA’s website for emerging
22

23   problems with its vehicles.

24   Even before the introduction of panoramic sunroofs, NHTSA played a role in making Nissan

25   aware of the danger created by shattering sunroofs. Nissan’s “Skyview” sunroof, a precursor

26   to panoramic sunroofs, was introduced in the 2003 model year Nissan Maxima. Due to
27

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 1   shattering glass, Nissan issued a recall of 2004 Maxima models in order to replace the

 2   “Skyview” sunroof. (NHTSA Campaign #04V3260000).
 3   Since the introduction of panoramic sunroofs, NHTSA has continued to bring awareness to the
 4
     issues and danger associated with shattering sunroofs through complaints and investigations.
 5
     NHTSA complaints concerning Nissan’s shattering panoramic sunroofs have been lodged
 6
     since as early as 2008. Since the initial 2008 complaint, at least another 105 complaints have
 7
     been logged on NHTSA’s website concerning this issue.
 8

 9   On May 14, 2014 NHTSA opened an investigation into spontaneously shattering panoramic

10   sunroofs. (http://www-odi.nhtsa.dot.gov/owners/SearchSafetyIssues, NHTSA Investigation

11   ID Number: EA 14002; accessed on December 21, 2016).

12   In July 2014, in connection with its shattering panoramic sunroof investigation, NHTSA
13
     requested information from Nissan regarding exploding sunroofs in its vehicles.
14
     (https://static.nhtsa.gov/odi/inv/2014/INIM-EA14002-63590.pdf; accessed December 21,
15
     2016).
16
     Nissan responded to NHTSA’s inquiry in September 2014 by producing dealer field reports
17
     concerning its Pathfinder and Murano panoramic sunroofs that had shattered and were known
18

19   to Nissan at that time. On the same day, Nissan also produced consumer complaints relating to

20   defective and “exploded” sunroofs in its Pathfinder and Murano models.

21   Examples from the dealer field reports that Nissan produced appear below and demonstrate
22   Nissan’s knowledge of its panoramic sunroofs shattering as early as February 2013. These
23
     reports can also be accessed at https://static.nhtsa.gov/odi/inv/2014/INRD-EA14002-
24
     60025P.pdf; accessed on December 21, 2016.
25
                    a. 2012 Nissan Murano:
26
                       Details of Incident:
27

28                                               32
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 1                 1. how did the customer notice the incident

 2                 The sunroof glass broke.
 3                 - A loud noise occurred as the glass broke.
 4
                   2. What are the incident conditions
 5
                   According to the customer these are the conditions when the
 6
                   incident occurred:
 7
                   - On Interstate 10 west of Tucson in the Marana area (mixed
 8

 9                 concrete and asphalt, at 85 mph.

10                 - HVAC set at ~75, fan speed 2/5, fresh, face.

11                 - Sunroof glass and shade fully closed.

12                 - All vehicle windows closed.
13
                   Environmental data the day of the incident:
14
                   - Temperature max/min: 50F/32F.
15
                   - Precipitation: .5” (rain only, no reported hail)
16
                   - Humidity: 91%
17
                   - Wind speed max: 9 mph.
18

19                 3. Inspection done & result

20                 The sunroof glass is broken.

21                 - Glass pane is completely broken into small segments (see
22                 photos).
23
                   - The remaining glass appears to be raised when viewed
24
                   horizontally, as if pressure was applied from with the vehicle.
25
                   Root cause not determined.
26

27

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 1                 - The customer says they were “going about 85 mph on the

 2                 freeway” when the incident occurred, with no abnormal
 3                 influences.
 4
                   - The customer says that the vehicle has experienced nothing
 5
                   abnormal.
 6
                   - The vehicle has not been washed by the customer (in service
 7
                   only 13 days).
 8

 9                 (Nissan Dealer Field Reports at NA-TR-2013-00633 – Date

10                 of Report: Feb. 28, 2013)

11              b. 2012 Nissan Murano:

12                 Details of Incident:
13
                   1. how did the customer notice the incident
14
                   The sunroof glass broke.
15
                   - A loud noise occurred as the glass broke.
16
                   2. What are the incident conditions
17
                   According to the customer these are the conditions when the
18

19                 incident occurred:

20                 - On Interstate 17 in North Phoenix area (mixed concrete and

21                 asphalt, at 70 mph.
22                 - HVAC set at ~75, fan speed 2/5, fresh, face.
23
                   - Sunroof glass and shade fully closed.
24
                   - All vehicle windows closed.
25
                   Environmental data the day of the incident:
26
                   - Temperature max/min: 115F/74F.
27

28                                             34
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 1                 - Precipitation: 0”

 2                 - Humidity: 51%
 3                 - Wind speed max: 10 mph.
 4
                   3. Inspection done & result
 5
                   The sunroof glass is broken.
 6
                   - Glass pane is completely broken into small segments (see
 7
                   photos).
 8

 9                 - The remaining glass appears to be raised when viewed

10                 horizontally, as if pressure was applied from with the vehicle.

11                 Root cause not determined.

12                 - The customer says they were “going about 70 mph on the
13
                   freeway” when the incident occurred, with no abnormal
14
                   influences.
15
                   - The customer says that the vehicle has experienced nothing
16
                   abnormal.
17
                   - The vehicle has been washed by all varieties of equipment
18

19                 (hand wash, touch free, rotary brushes, reciprocating straps).

20                 (Nissan Dealer Field Reports at NA-TR-2013-02084 – Date

21                 of Report: July 12, 2013)
22              c. 2014 Nissan Murano:
23
                   Details of Incident:
24
                   Customer complaint/Inspection done & result:
25

26

27

28                                             35
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 1                     This vehicle belongs to an NTCNA engineer. TSM spoke with

 2                     the customer who states that while driving the sunroof glass
 3                     shattered. Customer is not aware of anything hitting the glass.
 4
                       TSM inspected vehicle and observed the edge of the glass
 5
                       sticks upward all around the area that broke. Please see photos
 6
                       of sunroof glass in related documents.
 7
                       Please note: TSM has had feedback from (2) other Detroit area
 8

 9                     dealers where customers state the sunroof glass had shattered

10                     on 2014 Muranos.

11                     TSM will collect the glass frame and sunroof assembly, per

12                     FQI engineer’s request, and will ship to DS at FQI for further
13
                       analysis. TSM taped off the glass so it could be shipped with
14
                       no further damage.
15
                       (Nissan Dealer Field Reports at NA-TR-2014-02757 – Date
16
                       of Report: Aug. 8, 2014)
17
     Consumer      complaints      produced       by    Nissan         can   be     accessed   at
18

19   https://static.nhtsa.gov/odi/inv/2014/INRD-EA14002-60026P.pdf and include complaints that

20   “the sun roof exploded” as early as February 1, 2013. This website was last visited on

21   December 21, 2016.
22   A survey of the complaints reveals that the panoramic sunroofs often shatter within weeks or
23
     months of purchase, and consumer complaints to both Nissan and NHTSA, discussed above,
24
     show that drivers were reporting this problem as early as 2008.
25
     In addition to monitoring NHTSA, Nissan internally tracks information regarding the
26
     panoramic sunroof failures through the collection of incident reports and other information
27

28                                                36
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 1   from drivers and dealers (as evident from its production in NHTSA’s shattering panoramic

 2   sunroof investigation), including complaints, warranty claims, replacement parts data, dealings
 3   with insurance, and other aggregated data sources. Nissan has nearly exclusive access to this
 4
     information, including pre-release testing of vehicle components, so it is implausible that
 5
     Nissan had no knowledge very early on about the defect.
 6
     Nissan is also aware that other manufacturers—whose vehicles have similarly designed
 7
     panoramic sunroofs and similar shattering problems—have voluntarily initiated safety recalls
 8

 9   to notify drivers of the danger and repair shattered sunroofs free of cost.

10   Nissan claims its sunroofs shatter as a result of impact from roadway objects.

11   Rocks or other objects thrown up by cars and trucks on the roadway would not impact the

12   sunroof with sufficient force to cause it to shatter, let alone to shatter outward, a fact that
13
     appears in many consumer complaints and of which Nissan is aware. Moreover, driver reports
14
     specifically contradict Nissan’s position. Significantly, some Nissan panoramic sunroofs have
15
     spontaneously shattered while the vehicle was parked.
16
     As mentioned above, Nissan has had at least one recall relating to shattering sunroofs. The
17
     recall was for its 2004 Maxima. While Nissan issued a recall that sunroof shattering problem
18

19   that impacted only one model year of its Maxima, it has done nothing regarding the far more

20   predominant problem relating to the panoramic sunroof shattering that affects potentially

21   hundreds of thousands or more Nissan vehicles.
22      D. The Dangers Posed to Class Vehicle Occupants
23
     NHTSA, KATRI, and responsible automobile manufacturers have acknowledged that the
24
     spontaneous failure of panoramic sunroofs endangers drivers, passengers, and others on the
25
     road.
26

27

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 1       Panoramic sunroofs are an expensive upgrade option that can cost thousands of dollars in the

 2       purchase or lease price and over a thousand dollars to replace.
 3       A reasonable person considering whether to purchase or lease a Nissan vehicle would want to
 4
         be informed about the panoramic sunroof defect so that he or she could opt against paying the
 5
         thousands of dollars for a “luxury upgrade” or simply forego purchasing or leasing the vehicle
 6
         altogether.
 7
         When the Nissan panoramic sunroofs shatter, they usually make a sudden and extremely loud
 8

 9       noise, followed by shards of glass raining down onto the driver and passengers. Drivers report

10       that the falling shards of glass have cut them and their passengers and have also caused damage

11       to the interior of the vehicles as well as scratching the vehicles’ exterior paint. Drivers have

12       also reported a number of near-miss accidents that occurred after they were startled or
13
         distracted by the shattering. Both Nissan and NHTSA have received reports of injuries
14
         resulting from Nissan panoramic sunroofs shattering.
15
         Other manufacturers concur. When Nissan initiated a safety recall for shattering panoramic
16
         sunroofs, for example, it acknowledged that drivers “could be injured by falling glass,” and
17
         that “[i]f the glass panel were to break while the vehicle is in motion, it could cause driver
18
                                                      5
19       distraction, increasing the risk of a crash.” And when Hyundai initiated its recall, it too

20       acknowledged that the shattering of panoramic sunroofs “relates to motor vehicle safety,”
21       including by posing a risk of cutting vehicle occupants.
22

23

24

25   5Jenna Reed, NISSAN Recalls Certain Beetle Models Over Potential Panoramic Sunroof Issue,
     glassBYTEs.com (Dec. 11, 2014), http://www.glassbytes.com/2014/12/Nissan-recalls-certain-
26   beetle-models-over-potential-panoramic-sunroof-issue/; accessed on December 21, 2016 and
     Nissan of America, Inc., Nissan Issues Voluntary Recall (Dec. 7, 2014),
27   https://media.Nissan.com/release/856/; accessed on December 21, 2016.
28                                                    38
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 1   In connection with the Hyundai recall, NHTSA wrote that the breaking of the panoramic

 2   sunroof could lead “to personal injury or a vehicle crash.” In connection with an Audi recall,
 3   NHTSA wrote that “should the sunroof’s glass break while the vehicle is in use, the falling
 4
     glass could cut and injure the driver or passengers [and] could also distract the driver,
 5
     increasing the risk of a crash.”
 6
     KATRI likewise concluded that the sudden shattering of a panoramic sunroof while driving
 7
     may cause “abrasions due to shattered glass” and also cause the “risk of secondary accidents.”
 8

 9   In December 2012, KATRI launched an investigation into exploding panoramic sunroofs of

10   numerous automotive manufacturers, including Nissan. KATRI’s investigation culminated in

11   November 2013, when it met with numerous car manufacturers in Seoul, South Korea, and

12   announced its finding that the ceramic tint in panoramic sunroofs substantially weakens the
13
     glass and compromises the safety of the glass. KATRI recommended widespread recalls.
14
     KATRI’s recommendations went unheeded by Nissan.
15
        E. Nissan Refuses to Warn Drivers
16
     Despite the high number of complaints and the danger posed by the defect, Nissan continues
17
     to conceal its existence from current drivers and potential customers alike. Despite having a
18

19   duty to alert potential customers to the existence of the Defect at the point of sale as this fact

20   would be material to the potential customer’s purchasing decision, Nissan chooses to

21   intentionally conceal or, at best, omit the existence of the defect to consumers considering the
22   purchase of a Nissan vehicle. Nissan similarly fails to warn drivers who experience a shattering
23
     event of the existence of the Defect and the danger of a shattering event reoccurring when those
24
     drivers bring their vehicles in for repair. Nissan knows of the defect yet continues to profit
25
     from the sale and lease of vehicles to unwitting consumers.
26

27

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 1   Nissan continues to conceal the defect even though it knows that the defect is not reasonably

 2   discoverable by drivers unless they experience a failure and are exposed to the attendant safety
 3   risks.
 4
     Nissan remains silent even as it continues to receive complaints from concerned drivers and
 5
     NHTSA investigators.
 6
     As a result of Nissan’s inaction and silence, consumers are unaware that they purchased or
 7
     leased a vehicle that has a defective sunroof, and continue to drive these unsafe vehicles.
 8

 9   Additionally, drivers who have experienced an exploding sunroof and bring their vehicles to a

10   dealership for repairs are not told that identically defective sunroofs are installed as

11   replacements in their vehicles.

12   Some manufacturers who have had vehicles with similar panoramic sunroof problems—Audi,
13
     Hyundai, and Nissan (on earlier models)—have voluntarily initiated safety recalls as a result,
14
     notifying drivers of the danger and offering to repair the sunroofs free of cost.
15
         F. Nissan’s Deceptive Warranty Process
16
     Nissan advertises that it warranties“[e]very Nissan is backed by a 36-month/36,000-mile
17
     limited vehicle coverage and a 5-year/60,000-mile limited powertrain coverage.”
18

19   (https://owners.nissanusa.com/nowners/navigation/warrantyContent; accessed December 24,

20   2016). Nissan warrants to correct defects in materials or workmanship in all parts and

21   components of new Nissan vehicles.
22   Certified pre-owned Nissan vehicles carry over from previous owner what remains of the new
23
     vehicle 36-month/36,000-mile “bumper-to-bumper” warranty, if any time remains.
24
     The relevant terms of the warranties for each of the model years of the Class Vehicles are
25
     identical or substantially similar.
26

27

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 1      Plaintiffs and Class Members experienced damage from the sunroof defect within the warranty

 2      periods of their vehicles. Plaintiffs and Class Members reasonably expected that any and all
 3      damage that resulted from the sunroof defect would be covered under the warranty, and that
 4
        they would not be charged for such repairs.
 5
        Nissan has systematically denied coverage with respect to the defective sunroofs. Plaintiffs
 6
        and numerous Class Members have been forced to incur substantial repair bills and other
 7
        related damages, including being forced to make claims under their automotive insurance
 8

 9      policies and incurring substantial deductibles.

10                            V.         PLAINTIFFS’ EXPERIENCES

11   Sherida Johnson

12      Sherida Johnson recently moved from Japan to California. This move required a lot of new
13      things in Ms. Johnson’s life, such as a new place to live, a new job, and a new car.
14
        Now, Ms. Johnson lives in Murrieta, California. Her job at BioScreen Services, Inc. is in
15
        Torrance, California – approximately 81.5 miles from her home. Her commute from home to
16
        work takes approximately 1.5 hours in no traffic.
17
        Ms. Johnson is a single mother of three children (ages 18, 11, and 8). As a single mother and
18

19      an individual who commutes a significant distance to work daily, the purchase of a vehicle was

20      a big decision in many regards (e.g., financially, safety, efficiency). Ms. Johnson spent a

21      significant amount of time and effort to research several vehicles and their features before
22      selecting a car to purchase. Ms. Johnson’s research included investigating safety features,
23
        engine specifications, complaints from other owners, reviews, and YouTube videos concerning
24
        the vehicles and/or specific features.
25

26

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 1         Ms. Johnson was willing to and did spend substantial money on a car that was safe, reliable,

 2         and that had the panoramic sunroof feature for her three children to enjoy as passengers with
 3         her.
 4
           Ultimately, Ms. Johnson selected to purchase a 2016 Nissan Maxima. According to her
 5
           research, the car seemed to be safe and reliable. After satisfying herself that the Maxima was
 6
           safe and reliable, Sherida Johnson chose the 2016 Maxima over other cars because the Maxima
 7
           had the aesthetically pleasing panoramic sunroof feature. Additionally, Ms. Johnson believed
 8

 9         the Maxima looked similar to a Tesla – a look she found pleasing. Ms. Johnson’s decision to

10         purchase the Nissan Maxima at issue was one that she put a great deal of consideration and

11         monetary investment into.

12         During her research, Ms. Johnson did not encounter any information indicating that a
13
           panoramic sunroof could be dangerous. Nor did she observe any warnings about the potential
14
           for this type of sunroof to spontaneously explode. She did not know and never thought the
15
           panoramic sunroof feature was a danger.
16
           Plaintiff Sherida Johnson purchased a certified pre-owned 2016 Nissan Maxima, VIN:
17
           IN4AA6AP6GC397907, with 14,422 miles on it from CarMax Auto Superstores California,
18

19         LLC in August 2016 for a total cost of purchase on credit, including a $6,000 down payment,

20         of $58,650.00. Thus, Ms. Johnson’s financing consists of 72 payments of $731.25. The

21         payments began in September 2016.
22         Ms. Johnson, being cautious and respecting safety for herself as well as her three children, paid
23
           extra money to purchase an extended service plan warranty from CarMax to cover her new
24
                   6
           vehicle.
25

26

27   6
         MaxCare Extended Service Plan Contract #: 7196634294 expiring 8/13/2021 or 100,000 miles.
28                                                       42
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 1   Because the car was a 2016 model Nisan Maxima and under three years old from original

 2   purchase date and under 36,000 miles, it came with what remained on the 3-year/36,000 mile
 3   bumper-to-bumper warranty which includes expressly warranting to repair or replace defects
 4
     in materials or workmanship and, thus, her panoramic sunroof.
 5
     Ms. Johnson’s purchased Maxima was equipped with a factory-installed panoramic sunroof.
 6
     About three months after purchasing her 2016 Nissan Maxima, Ms. Johnson started her job in
 7
     Torrance, California. Since then, she has commuted 3 hours a day, five days a week for her
 8

 9   job.

10   At approximately 3:40 a.m. on Monday, October 31, 2016, Sherida Johnson began her

11   commute to work. The weather was clear - about 70 degrees, not raining or snowing - and

12   traffic was light. Her Nissan had approximately 20,000 miles on it. She was on I-15 N going
13
     approximately 70 mph about to get on CA-91 W, when she suddenly heard what sounded like
14
     a gunshot. Ms. Johnson was startled, confused, and terrified.
15
     Ms. Johnson, uncertain as to what had caused the sound, examined her surroundings. Seeing
16
     nothing suggesting a shooter was around, she then began to question whether something was
17
     wrong with her vehicle (e.g., had her tire blown out?). The vehicle appeared to be driving
18

19   correctly, but she pulled over on the side of the highway to examine it. She looked up where

20   her panoramic sunroof shade was open and saw that the sunroof itself had exploded. Some of

21   the shards of glass fell into the car. But large portions of the glass sunroof were simply missing.
22   Ms. Johnson was concerned the glass could have flown off and caused another vehicle to get
23
     into an accident. However, Ms. Johnson saw no other vehicles impacted and noted that no cars
24
     were directly beside or behind her when she first heard the loud gunshot-like noise.
25
     At this time, Ms. Johnson’s car was still covered by the remainder of the new car vehicle
26
     limited warranty of 36 months/36,000 miles because it was below the warranty age limit and
27

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 1   mileage. This bumper-to-bumper warranty warranted to correct all defects in materials and

 2   workmanship and thus covered the defective panoramic sunroof.
 3   Because her vehicle was drivable and because Ms. Johnson had only been employed by
 4
     BioScreen Services, Inc. for approximately three weeks, she got back into her car, closed the
 5
     panoramic sunroof shade, said a prayer, and proceeded to drive to work. She arrived at her job
 6
     a little after 5 a.m.
 7

 8

 9   Below are photographs of the failed sunroof in Ms. Johnson’s 2016 Nissan Maxima.

10

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10

11   On her lunch break on October 31, Ms. Johnson took her car to the nearby Torrance CarMax.

12   The CarMax employees who saw the car were in dismay at the damage. However, CarMax

13   indicated that, while Ms. Johnson had purchased an additional warranty from CarMax to cover

14   damage to her 2016 Nissan Maxima, they would not be able to repair the panoramic sunroof
15
     damage. CarMax then informed Ms. Johnson that she should call her insurance company.
16
     Again, Ms. Johnson’s new car vehicle warranty for bumper-to-bumper repairs that include the
17
     defective sunroof was still in effect.
18
     Ms. Johnson called her insurance company who instructed her as to some of her options.
19
        Then, Ms. Johnson called a local Nissan dealer, Nissan of South Bay in Torrance,
20

21   California, who, after hearing Ms. Johnson describe the incident, told her to bring the car into

22   the dealer. Ms. Johnson brought the car into Nissan of South Bay and, despite the fact that Ms.

23   Johnson saw no rocks or debris while driving her car on the highway that morning, she was
24   told “something hit glass” (i.e., the panoramic sunroof).
25
        Despite being a 2016 vehicle covered by the original manufacturer’s warranty from Nissan
26
     and potentially covered by the additional warranty Sherida Johnson purchased from CarMax
27

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 1   when she bought the vehicle, Nissan of South Bay informed Ms. Johnson that the sunroof

 2   shattering was “not covered under warranty.”
 3      The Nissan dealer kept Ms. Johnson’s car to perform the repair of the shattered panoramic
 4
     sunroof. An employee from the Nissan dealer called Ms. Johnson on approximately Tuesday,
 5
     November 1, 2016, to inform her that the Nissan part needed for replacement of the sunroof
 6
     had been ordered. He also informed her at that time that the car contained a part that was
 7
     subject to a Nissan recall relating to the anti-lock brake system (“ABS”).
 8

 9      Ms. Johnson’s 2016 Nissan Maxima’s ABS actuator is part of a larger Nissan recall. The

10   reason for the recall is that the ABS “actuator may leak brake fluid” which will cause “the ABS

11   warning lamp” to “illuminate and remain continually illuminated on the instrument panel.”

12   This continual illumination can “create an electrical short” which “may lead to a fire.”
13
        (https://www.nissanusa.com/content/nissan-responsive/us/en/recalls-vin/abs.html;
14
        accessed on December 20, 2016).
15
        The Nissan dealer kept Ms. Johnson’s 2016 Nissan Maxima for approximately one work
16
     week – from October 31 through November 4. They replaced the shattered panoramic sunroof
17
     with the ordered Nissan replacement part. The parts necessary to address the recall were not
18

19   available at the time and Ms. Johnson was told to bring the car back at another time.

20      Ms. Johnson paid $1,104.93 in repair costs to the Nissan dealer for the parts and labor

21   associated with the replacement of the defective panoramic sunroof. The replacement sunroof
22   part (LID ASSY-SUNROOF: FP NUMBER 91210-4RA1A) cost $844.93. Labor affiliated
23
     with the sunroof replacement cost $260.00.
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                                                   7
 1            Ms. Johnson made a claim with her insurance company, Geico, and paid a $50.00
 2        deductible. In turn, her insurance company reimbursed her for the cost of the part and $125.00
 3
          worth of labor. Ms. Johnson paid approximately $185 out-of-pocket for the sunroof
 4
          replacement for which she was not reimbursed.
 5
              Ms. Johnson inquired whether Nissan would pay to replace the sunroof in the event the
 6
          panoramic sunroof would explode unexpectedly again. The Nissan dealer replied “no” and told
 7

 8        her she would be responsible for any and all repair costs in the future.

 9            Ms. Johnson is afraid the replacement sunroof will explode like the original one did. She

10        has not used her sunroof since the replacement panoramic sunroof was installed due to this

11        fear.
12
              Ms. Johnson is now scared to drive her vehicle. She would prefer not to drive or even own
13
          her 2016 Nissan Maxima anymore. However, she financed the vehicle and will be making
14
                                                       8
          payments on the car through 2021. Therefore, she feels, economically, she is stuck with this
15
          car – forced to drive in fear, 3 hours a day, five days a week, for nearly five more years. Had
16

17        Ms. Johnson known of the car’s panoramic sunroof defect, she would have bought a less

18        expensive car without the panoramic sunroof upgrade.

19            Had Nissan adequately disclosed the panoramic sunroof defect, Ms. Johnson would not
20        have purchased the vehicle or she would have paid substantially less for it. In addition, Ms.
21
          Johnson would not have suffered the economic damages she sustained. Her vehicle remains
22
          within the scope of the Nissan new vehicle warranty. She did not receive the benefit of her
23
          bargain.
24

25

26   7   Geico claim number: 0571051900101017.
     8 At the time this Complaint was filed, Ms. Johnson has 67 payments of $731.25 remaining before the financing agreement on
27   her 2016 Nissan Maxima is satisfied in full.

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 1   Subrina Seenarain

 2         In November 2015, Ms. Seenarain purchased a certified pre-owned 2014 Nissan Maxima
 3      with a panoramic sunroof, VIN: 1N4AA5AP5EC456176, and odometer reading of 19,804
 4
        miles from Nissan of Garden City in Hempstead, Nassau County, New York. The purchase
 5
        price was $25,000 and included a payment for Nissan’s extended service contract called
 6
        “Service + Plus”.
 7
           Ms. Seenarain did a significant amount of research before deciding upon her Maxima. She
 8

 9      researched new and used cars online for safety, reliability, and price. Her father owned a Nissan

10      Altima more many years and was very pleased with its reliability. In addition, Ms. Seenarain

11      had driven her father’s Altima several times prior to purchasing her Maxima at issue and

12      likewise found it safe and reliable. Subrina Seenarain reviewed cars for sale privately and
13
        found a private-sales BMW online that met her requirements for safety and cost, but it did not
14
        come with the warranties and assurances of quality that the Nissan certified pre-owned offered.
15
        In addition, she spoke at length with automobile sales representatives from Garden City Nissan
16
        who assured her that the certified pre-owned Maxima met her requirements for safety,
17
        reliability, and economy. The panoramic sunroof feature was then the clincher for Ms.
18

19      Seenarain because it was a beautiful feature that purported to improve the driving experience

20      for driver and passengers. And Ms. Seenarain drives a great deal. So, Ms. Seenarain spent more

21      money on a car for the panoramic sunroof upgrade.
22         Ms. Seenarain lives in Schenectady, New York and works as a registered nurse at
23
        Montefiore Hospital in the Bronx where she works, at a minimum, three 12-hour shifts a week.
24
        The drive from her home to work is 2 ½ hours one way. Generally, she spends the night at her
25
        mother’s house in Queens on working nights where she is scheduled the next day. With her
26
        home in Schenectady, job located in the Bronx, and her mother living in Queens, Ms. Seenarain
27

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 1   drives a substantial distance weekly. Notably, Ms. Seenarain also attends to the needs of her

 2   family in the greater New York area and uses the car for other personal reasons.
 3       Ms. Seenarain put a great deal of thoughtful consideration and research into her decision
 4
     to purchase the Nissan Maxima, which was a significant monetary investment for her.
 5
         During her research, Ms. Seenarain did not encounter any information indicating that a
 6
     panoramic sunroof could be dangerous. Nor did she observe any warnings about the potential
 7
     for this type of sunroof to spontaneously explode. Until her sunroof exploded, she did not know
 8

 9   and never thought the panoramic sunroof feature was a danger.

10       On September 4, 2016 - a clear Sunday afternoon - at approximately 2:30 p.m., Ms.

11   Seenarain was driving her Maxima with a passenger after having just dropped off and settled

12   her five-year old nice and mother into a Long Island hospital. Her niece was being treated for
13
     a fever.
14
         Upon leaving the hospital in Long Island and just after entering the Grand Central Parkway,
15
     having reached a speed of about 40 miles per hour, Ms. Seenarain and her passenger heard a
16
     thunderous pop. Frightened and aware that the sound came from her car, Ms. Seenarain pulled
17
     onto the highway shoulder, got out of the car, and inspected the damage. She and her passenger
18

19   discovered a large hole bowed outward in the panoramic sunroof. There had been no collision,

20   nor had any object struck the car prior to the noise and glass roof shattering. The closed shade

21   caught most of the glass that would have fallen into the car.
22       Below are photographs of the Seenarain vehicle’s shattered sunroof in the 2014 Nissan
23
     Maxima.
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 1      A highway patrolman stopped and informed Ms. Seenarain that she needed to move her

 2   car off of the highway shoulder for safety. Ms. Seenarain drove from the expressway straight
 3   to Nissan of Garden City where she purchased the vehicle. The service representative at the
 4
     dealership told her that she needed to either file a claim through her insurance carrier or with
 5
     Nissan, and that the damage was not something the dealership would cover. A representative
 6
     from the dealership vacuumed out the glass inside the sunroof shade and car and secured the
 7
     hole in the roof with plastic and tape.
 8

 9      On September 8, 2016, Ms. Seenarain called Nissan from the Garden City dealership and

10   was told by a Nissan representative that panoramic sunroofs were not covered under the glass

11   warranty, but that other glass and sunroofs were. Ms. Seenarain was assigned a claim number

12   from customer service representative “Ann”, ID No. 457227. She followed up with Nissan via
13
     e-mail on the same day, trying to confirm that that Nissan of Garden City would repair the
14
     sunroof and reiterating her understanding that Nissan would cover the repair costs. She again
15
     requested of Nissan that they repair/replace the sunroof and Nissan refused.
16
        In addition, Ms. Seenarain contacted her automobile insurance carrier, GEICO, which
17
     informed her that any repair would cost her $1,000.00 “out-of-pocket” and that her claim had
18

19   to be filed under collision coverage (potentially raising her car insurance rates), even though

20   there was no collision or other outside force which caused the sunroof to spontaneously shatter.

21      Prior to choosing Nissan of Garden City to replace the defective sunroof, Ms. Seenarain
22   contacted several other independent glass companies and was told that the sunroof could only
23
     be replaced with a Nissan factory sunroof. After comparing repair prices, she had the
24
     panoramic sunroof repaired at the dealership where she purchased the car at a cost to her of
25
     $1,100.69.
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 1        Ms. Seenarain is anxious driving the “repaired” Maxima, fearful that the sunroof will again

 2     explode. Because she paid $10,000.00 down on the car and still has approximately five years’
 3     worth of monthly payments remaining, Ms. Seenarain feels financially bound to keep this
 4
       vehicle. Had Ms. Seenarain known of the car’s panoramic sunroof defect, she would have
 5
       bought a less expensive car without the panoramic sunroof upgrade. Ms. Seenarain is no longer
 6
       able to enjoy the panoramic sunroof feature that she paid extra money to have because she
 7
       keeps the sunroof cover closed for fear of another sunroof shattering incident.
 8

 9        Had Nissan adequately disclosed the panoramic sunroof defect at the point of sale or

10     otherwise, Ms. Seenarain would not have purchased the vehicle at issue, would have paid

11     substantially less for the car, or would have purchased a less expensive vehicle without a

12     panoramic sunroof. Her vehicle was within the scope of the Nissan new vehicle warranty at
13
       the time the sunroof shattered and at the time of repair. She did not receive the benefit of the
14
       bargain she made with Nissan at the time of purchase.
15
     Chad Loury
16
          In 2013 Mr. Loury purchased a 2012 Nissan Murano from Orange Motors in Ontario,
17
       California.
18

19        In August 2015 while driving the vehicle he kept hearing an odd noise in the car. Upon

20     inspection of the vehicle, Plaintiff noticed that the sunroof had shattered.

21        Plaintiff went to Nissan of Duarte, California on three separate occasions requesting that
22     Nissan repair the sunroof. Nissan denied each of his requests.
23
          Plaintiff had the sunroof repaired by Loyalty Auto Glass in West Covina, California at a
24
       cost of $700.00.
25
          Had Nissan adequately disclosed the panoramic sunroof defect, Mr. Loury would not have
26
       purchased the vehicle or he would have paid substantially less for it. In addition, Mr. Loury
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 1   would not have suffered the economic damages he sustained. He did not receive the benefit of

 2   his bargain.
 3      Below are photographs of the Loury vehicle’s shattered sunroof in the 2012 Nissan
 4
     Murano:
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12   Linda Spry

13        On February 16, 2013, Ms. Spry purchased a 2012 Nissan Murano from Auto Nation
14
       Nissan in Centennial, Colorado.
15
          Prior to purchasing her Class Vehicle, Ms. Spry engaged in conversation with a member
16
       of the Auto Nation Nissan sales staff who proceeded to discuss the vehicle’s features and
17
       available upgrades, including the panoramic sunroof, in an attempt to persuade her to purchase
18
       the vehicle. The sales person even demonstrated the sunroof as part of his sales pitch. Ms.
19

20     Spry also engaged in similar discussions with the manager of the dealership. Although the

21     salesperson and manager should have disclosed the Defect to Ms. Spry prior to purchase as it

22     would likely have affected her purchasing decision, Ms. Spry was never informed of the
23     existence of the Defect.
24
          Additionally, Ms. Spry reviewed advertisements pertaining to her Class Vehicle authored
25
       by or on behalf of Defendant in her local newspaper prior to purchase. These advertisements
26
       made no mention of the Defect.
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 1      On October 11, 2016 around 9:00 a.m. her sunroof shattered while driving approximately

 2   60-70 MPH on Westbound C470 before the Belleview exit. The temperature was in the mid
 3   70’s and the traffic was light. Plaintiff was in an isolated pocket with the nearest car about 10
 4
     to 12 car lengths from her. Plaintiff heard a loud explosion and thought that there was either a
 5
     wreck or that is was a gunshot. She then heard the wind blowing through the sunroof and glass
 6
     blowing behind her in her rear view window.
 7
        Plaintiff went to Auto Nation Nissan to have the sunroof repaired. After discussing the
 8

 9   sunroof with Nissan for a week, Nissan refused to repair her sunroof.

10      Plaintiff had and extended warranty for the vehicle, but Nissan said that the extended

11   warranty did not pay for glass.

12      The dealership repaired her vehicle at a cost of $1,114.00 to plaintiff.
13
        Had Nissan adequately disclosed the panoramic sunroof defect, Ms. Spry would not have
14
     purchased the vehicle or would have paid substantially less for it. In addition, Ms. Spry would
15
     not have suffered the economic damages sustained. She did not receive the benefit of her
16
     bargain.
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 1                 Below are photographs of Ms. Spry’s 2012 Nissan Murano:

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     Lisa Sullivan
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           In May, 2012 Ms. Sullivan purchased a new 2012 Nissan Murano from Lokay Nissan in
12

13      Clearwater, Florida.

14         On August 12, 2015 at approximately 10:30 a.m. her sunroof shattered while at the

15      intersection of Keystone Road and East Lake Road. Ms. Sullivan had been driving for forty-
16      five minutes and the weather was clear and 90 degrees. There was traffic around her but there
17
        was no debris or objects that had fallen from any vehicle near hers.
18
           When the sunroof shattered Plaintiff thought that she heard a gunshot. She pulled over at
19
        the next exit and noticed that the sunroof had shattered.
20
           Plaintiff took the vehicle to Lokay Nissan in Clearwater, Florida to repair the sunroof. The
21

22      dealership refuse to cover the cost of repairs.

23         Plaintiff made an insurance claim and her insurance company paid for the repairs to her

24      vehicle. She had to pay a deductible for the repair that took approximately three weeks.
25         Had Nissan adequately disclosed the panoramic sunroof defect, Ms. Sullivan would not
26
        have purchased the vehicle or would have paid substantially less for it. In addition, Ms.
27

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 1   Sullivan would not have suffered the economic damages sustained. She did not receive the

 2   benefit of her bargain.
 3          Below are photographs of Ms. Sullivan’s 2012 Nissan Murano’s exploded sunroof:
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 1   April Ahrens

 2          In April, 20015 April Ahrens purchased a new 2015 Nissan Rogue from Auffenberg Nissan
 3      in O’Fallon, Illinois.
 4
            Prior to purchasing her Class Vehicle, Ms. Ahrens was engaged in conversation by
 5
        Auffenberg Nissan sales staff who emphasized the vehicle’s various features and optional
 6
        upgrades in an attempt to sell her the vehicle. Although Nissan should have disclosed the
 7
        existence of the Defect prior to Ms. Ahrens’ purchase of the vehicle as this fact would have
 8

 9      been material to Ms. Ahrens’ purchasing decision, Auffenberg Nissan staff failed to disclose

10      the existence of the Defect.

11          Additionally, Ms. Ahrens reviewed advertising materials shown to her by or on behalf of

12      Defendant pertaining to her Class Vehicle prior to purchase. These advertising materials made
13
        no mention of the Defect.
14
            On January 21, 2017 at approximately 2:00 p.m. her sunroof shattered while driving on the
15
        interstate. Plaintiff had been driving for five hours and the weather was clear and 60 degrees.
16
            When the sunroof shattered Plaintiff thought that she heard a gunshot. She pulled over at
17
        the next exit and noticed that the sunroof had shattered.
18

19          Plaintiff took the vehicle to Watermark Nissan in Marion, Illinois to repair the sunroof.

20      The dealership refuse to cover the cost of repairs, and replaced the shattered panoramic sunroof

21      with an identical and equally defective one.
22          Plaintiff made an insurance claim and her insurance company paid for the repairs to her
23
        vehicle.
24
            Had Nissan adequately disclosed the panoramic sunroof defect, Ms. Ahrens would not have
25
        purchased the vehicle or would have paid substantially less for it. In addition, Ms. Ahrens
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 1   would not have suffered the economic damages sustained. She did not receive the benefit of

 2   her bargain.
 3      Below are photographs of Ms. Ahren’s 2012 Nissan Rogue’s exploded sunroof:
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 1   Janelle Horne

 2         In September of 2016, Mrs. Horne leased a new 2016 Infiniti QX80 with a sunroof option
 3      from Momentum Infiniti in Fairfield, California. The lease contract required a down payment
 4
        of $7,000, with 39 monthly payments of $759.
 5
            Mrs. Horne did a significant amount of research and was willing to and did spend
 6
        substantial money on a car that she believed at the time of the lease was reliable and also
 7
        provided her and her family with the aesthetically pleasing bonus feature of a large sunroof.
 8

 9      She considered a number of different vehicles before deciding upon the Infiniti QX80.

10         While driving with her husband and four children (Mr. Horne was driving), her Nissan

11      sunroof erupted with a massive bang that was itself terrifying to Mrs. Horne and the

12      occupants. Specifically, Mr. Horne was merging into freeway traffic at the time of the failure
13
        and traveling at less than fifty (50) miles per hour. The shattering caused Mr. Horne to
14
        immediately pull to the side of the road, glass shards were apparent and the sunroof asunder.
15
        What sounded like rain was in fact glass flying off the roof. Mr. Horne immediately pulled
16
        over and took the photographs below:
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        Mr. and Mrs. Horne were both upset and concerned. Mrs. Horne promptly brought the
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11   automobile to the Nissan dealership nearest to their residence. The dealership sought to deflect

12   responsibility for the sunroof, blaming “small rocks” or “falling objects” for the damage and

13   initially refused warranty coverage. Mrs. Horne’s persistence and threat of public exposure
14   caused eventual replacement of the sunroof by Nissan but her damages were never paid for,
15
     her costs not reimbursed, the paint damage not repaired, and warranty coverage for her and
16
     others never acknowledged.
17
        Had Nissan adequately disclosed the panoramic sunroof defect, Mrs. Horne would not have
18
     leased the vehicle at issue, would have paid substantially less for the leased vehicle, or would
19

20   have purchased or leased a less expensive vehicle without a sunroof. Her vehicle was within

21   the scope of the Infiniti’s new vehicle warranty at the time the sunroof shattered and at the time

22   of repair. At the time the sunroof shattered, the vehicle was under 4 years old and had fewer

23   than 3,000 miles on it. Mrs. Horne did not receive the benefit of the bargain that she made
24   with Infiniti at the time of lease agreement.
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 1                         VI.         CLASS ACTION ALLEGATIONS

 2          Pursuant to Fed. R. Civ. P. 23, Plaintiffs bring this case as a class action on behalf of
 3      themselves and all others similarly situated as members of the following proposed Nationwide
 4
        and state classes of California, New Jersey, and New York (collectively, the “Classes”), on
 5
        their federal and respective state claims as purchasers and lessees of “Class Vehicles.” Class
 6
        Vehicles include all models below that are equipped with factory-installed panoramic sunroofs:
 7
                     a.    model years 2008-present Maxima, Rogue, Sentra, Pathfinder, and Altima;
 8

 9                   b.    model years 2009-present Murano;

10                   c.    2011-present Juke; and

11                   d.    Model years 2008 – present Infiniti.

12   California Class:
13          During the fullest period allowed by law, all persons and entities residing in California who
14
        purchased or leased a Class Vehicle in California.
15
     New York Class:
16
            During the fullest period allowed by law, all persons and entities residing in New York
17
        who purchased or leased a Class Vehicle in New York.
18

19   Colorado Class

20          During the fullest period allowed by law, all persons and entities residing in New York

21      who purchased or leased a Class Vehicle in Colorado.
22   Florida Class
23
            During the fullest period allowed by law, all persons and entities residing in New York
24
        who purchased or leased a Class Vehicle in Florida.
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 1   Illinois Class

 2          During the fullest period allowed by law, all persons and entities residing in New York
 3      who purchased or leased a Class Vehicle in Illinois.
 4
            Excluded from the proposed class is Nissan; any affiliate, parent, or subsidiary of Nissan;
 5
        any entity in which Nissan has a controlling interest; any officer, director, or employee of
 6
        Nissan; any successor or assign of Nissan; anyone employed by counsel in this action; any
 7
        judge to whom this case is assigned, his or her spouse; and members of the judge’s staff; and
 8

 9      anyone who purchased a Class Vehicle for the purpose of resale.

10          Members of the proposed classes are readily ascertainable because the class definitions are

11      based upon objective criteria.

12          Numerosity. Nissan sold many thousands of Class Vehicles, including a substantial
13
        number in California. Members of the proposed Classes likely number in the thousands and
14
        are thus too numerous to practically join in a single action. Class Members may be notified of
15
        the pendency of this action by mail, supplemented by public notice (if deemed necessary or
16
        appropriate by the Court).
17
            Commonality and Predominance. Common questions of law and fact exist as to all
18

19      proposed members of the Classes and predominate over questions affecting only individual

20      Class Members. These common questions include:

21                    (a)   Whether the panoramic sunroofs in the Class Vehicles are designed
22          defectively such that they have a propensity to spontaneously shatter;
23
                      (b)   Whether Nissan knew or should have known that its panoramic sunroofs are
24
            defectively designed such that they have a propensity to spontaneously shatter, and if so,
25
            when it discovered this;
26
                      (c)   Whether the knowledge of this propensity to shatter would be important to
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28                                                   65
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 1      a reasonable person, for example, because, it poses an unreasonable safety hazard;

 2             (d)     Whether Nissan failed to disclose to or concealed from potential consumers:
 3      the existence of the sunroofs’ propensity to spontaneously shatter;
 4
               (e)     Whether Nissan breached its express warranty obligations;
 5
               (f)     Whether Nissan has a pattern and practice of attributing damages claimed
 6
        by Plaintiffs and Class Members to causes other than the complained-of defect;
 7
               (g)     Whether Nissan should be required to notify Class Members about the
 8

 9      panoramic sunroofs’ propensity to spontaneously shatter;

10             (h)     Whether Nissan should be required to cease its practice of providing the

11      same or substantially similar replacement sunroofs as the defective sunroofs;

12              (i)    Whether the Court may enter an injunction requiring Nissan to cease its
13
        practice of replacing shattered panoramic sunroofs with identically defective replacement
14
        sunroofs;
15
               (j)     Whether this Court should grant other declaratory relief requested herein;
16
               (j)     Whether Nissan had a duty to disclose to Plaintiffs and Class Members the
17
        true character, quality, and nature of the Class Vehicles and the sunroof defect;
18

19             (k) Whether Nissan’s conduct, as alleged herein, violates the Magnuson-Moss

20      Warranty Act (“MMWA”), 15 U.S.C. § 2301, et seq.;

21             (l)     Whether Nissan’s conduct, as alleged herein, violates the consumer
22      protection laws of California;
23
               (m)     Whether Nissan’s conduct, as alleged herein, violates the consumer
24
        protection laws of New York;
25
               (n)     Whether Nissan’s conduct, as alleged herein, violates the consumer
26
        protection laws of Colorado;
27

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 1              (o)     Whether Nissan’s conduct, as alleged herein, violates the consumer

 2      protection laws of Florida;
 3              (p)     Whether Nissan’s conduct, as alleged herein, violates the consumer
 4
        protection laws of Illinois; and
 5
                (q)     Whether Nissan’s conduct, as alleged herein, entitles Plaintiffs and Class
 6
        Members to restitution under federal law and the laws of their respective states.
 7
        Typicality. Plaintiffs’ claims are typical of the claims of the proposed classes. Plaintiffs
 8

 9   and the members of the proposed Classes all purchased or leased Class Vehicles with

10   panoramic sunroofs that are inherently susceptible to spontaneous shattering, giving rise to

11   substantially the same claims. As illustrated by Class Member complaints, some of which have

12   been excerpted herein, each vehicle model included in the proposed class definitions suffers
13
     from the same or substantially similar defect.
14
        Adequacy. Plaintiffs are adequate representatives of the proposed Classes because their
15
     interests do not conflict with the interests of the members of the Classes they seek to represent.
16
     Plaintiffs have retained counsel who are competent and experienced in complex class action
17
     litigation, and will prosecute vigorously on Class Members’ behalf.
18

19      Superiority. A class action is superior to other available means for the fair and efficient

20   adjudication of this dispute. The injury suffered by each Class Member, while meaningful on

21   an individual basis, is not of such magnitude as to make the prosecution of individual actions
22   against Nissan economically feasible. Even if Class Members themselves could afford such
23
     individualized litigation, the court system could not. In addition to the burden and expense of
24
     managing many actions arising from the defective panoramic sunroofs, individualized
25
     litigation presents a potential for inconsistent or contradictory judgments. Individualized
26
     litigation increases expense to all parties and the court system presented by the legal and factual
27

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 1   issues of the case. By contrast, a class action presents far fewer management difficulties and

 2   provides the benefits of single adjudication, economy of scale, and comprehensive supervision
 3   by a single court.
 4
        In the alternative, the proposed Classes may be certified because:
 5
                (a)       the prosecution of separate actions by the individual members of the
 6
        proposed Classes would create a risk of inconsistent adjudications, which could establish
 7
        incompatible standards of conduct for Nissan;
 8

 9              (b)       the prosecution of individual actions could result in adjudications which, as

10      a practical matter, would be dispositive of the interests of non-party class members or

11      which would substantially impair their ability to protect their interests; and

12              (c)       Nissan has acted or refused to act on grounds generally applicable to the
13
        proposed Classes, thereby making appropriate final and injunctive relief with respect to
14
        members of the proposed Classes as a whole.
15
             VII.          TOLLING OF THE STATUTES OF LIMITATIONS
16
        Discovery Rule. Plaintiffs’ respective statutes of limitations accrued upon discovery that
17
     the panoramic sunroof installed in their Class Vehicle was defective in that this type of sunroof
18

19   is manufactured in a way that causes spontaneous shattering, which, in turn, results in costly

20   repairs. While Nissan knew and concealed the fact that the panoramic sunroofs installed in the

21   Class Vehicles have a defect that causes spontaneous shattering, Plaintiffs and Class Members
22   could not and did not discover this fact through reasonable diligent investigation until after
23
     they experienced such spontaneous shattering first-hand. Even then, Nissan claims its
24
     panoramic sunroofs shatter only as a result of impact from objects on the roadway and
25
     concealed and conceals from Plaintiffs and Class Members that the sunroofs are defective.
26
     Plaintiffs and Class Members who experienced exploding sunroofs also could not know that
27

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 1   the new sunroofs that were installed in their Class Vehicles presented the same danger of

 2   spontaneously shattering.
 3      Active Concealment Tolling. Any statutes of limitations are tolled by Nissan’s knowing
 4
     and active concealment of the fact that the panoramic sunroofs installed in the Class Vehicles
 5
     suffered from an inherent defect. Nissan kept Plaintiffs and Class Members ignorant of vital
 6
     information essential to the pursuit of their claims, without any fault or lack of diligence on
 7
     the part of Plaintiffs or the proposed Classes. The details of Nissan’s efforts to conceal its
 8

 9   above-described unlawful conduct are in its possession, custody, and control, to the exclusion

10   of Plaintiffs and Class Members. Plaintiffs and Class Members could not have reasonably

11   discovered the fact that the panoramic sunroofs installed in their Class Vehicles were defective.

12      Estoppel. Nissan was and is under a continuous duty to disclose to Plaintiffs and Class
13
     Members the true character, quality, and nature of the panoramic sunroofs installed in the Class
14
     Vehicles. At all relevant times, and continuing to this day, Nissan knowingly, affirmatively,
15
     and actively misrepresented and concealed the true character, quality, and nature of the
16
     panoramic sunroofs installed in the Class Vehicles. The details of Nissan’s efforts to conceal
17
     its above-described unlawful conduct are in its possession, custody, and control, to the
18

19   exclusion of Plaintiffs and Class Members. Plaintiffs reasonably relied upon Nissan’s

20   knowing, affirmative, and/or active concealment and affirmative misrepresentations. Based on

21   the foregoing, Nissan is estopped from relying on any statutes of limitation in defense of this
22   action.
23
        Equitable Tolling. Nissan took active stops to conceal the fact that it wrongfully,
24
     improperly, illegally, and repeatedly manufactured, marketed, distributed, sold, and/or leased
25
     Class Vehicles with defective panoramic sunroofs. The details of Nissan’s efforts to conceal
26
     its above-described unlawful conduct are in its possession, custody, and control, to the
27

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 1   exclusion of Plaintiffs and Class Members. When Plaintiffs learned about this material

 2   information, they exercised due diligence by thoroughly investigating the situation, retaining
 3   counsel, and pursuing their claims. Nissan fraudulently concealed its above-described
 4
     wrongful acts. Should such tolling be necessary, therefore, all applicable statutes of limitation
 5
     are tolled under the doctrine of equitable tolling.
 6
                             VIII.        CLAIMS FOR RELIEF
 7
                                              COUNT 1
 8                 Violation of the Magnuson-Moss Warranty Act (“MMWA”),
 9                                     15 U.S.C. § 2301, et seq.
             (Plaintiffs individually, and on behalf of the representative State classes)
10

11      Plaintiffs re-allege and incorporate by reference the preceding paragraphs as if fully set

12   forth herein.
13      The Magnuson-Moss Warranty Act, 15 U.S.C. §2301(d)(1), provides a cause of action for
14
     any consumer who is damaged by the failure of a warrantor to comply with a written or implied
15
     warranty.
16
        Plaintiffs and Class Members are “consumers” within the meaning of 15 U.S.C. § 2301(3).
17
        Nissan is a “supplier” and “warrantor” within the meanings of 15 U.S.C. §§ 2301(4)-(5).
18

19      Class Vehicles are “consumer products” within the meaning of 15 U.S.C. § 2301(1).

20      Nissan provided a written warranty for each Class Vehicle. Nissan’s express warranties are

21   written warranties within the meaning of the MMWA, 15 U.S.C. § 2301(6). The Class
22   Vehicles’ implied warranties are covered under 15 U.S.C. §2301(7).
23
        Nissan breached the warranties by:
24
        a.       Extending a 36 month/36,000 mile New Vehicle Limited Warranty with
25
                 the purchase or lease of the Class Vehicles, thereby warranting to repair or
26

27

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 1              replace any part defective in material or workmanship at no cost to the

 2              owner or lessee;
 3      b.      Selling and leasing Class Vehicles with panoramic sunroofs that were
 4
                defective in material and workmanship, requiring repair or replacement
 5
                within the warranty periods; and
 6
        c.      Refusing to honor the express warranties by not repairing or replacing the
 7
                panoramic sunroofs free of charge.
 8

 9      Plaintiffs and Class Members own Class Vehicles that experienced spontaneous panoramic

10   sunroof shattering during the period of warranty coverage.

11      Despite Nissan’s warranty, Nissan has not repaired or replaced these shattered panoramic

12   sunroofs at no charge to the consumers. In fact, Nissan has denied claims made under its
13
     warranty(ies) by consumers whose Class Vehicle panoramic sunroof shattered.
14
        Nissan’s breach of express warranty(ies) has deprived Plaintiffs and Class Members of the
15
     benefit of the bargain.
16
        Plaintiffs and Class Members have had sufficient dealings with either Nissan or its
17
     franchisees, representatives, and agents to establish any required privity of contract.
18

19   Nonetheless, privity is not required here because Plaintiffs and each of the other Class

20   Members are intended third-party beneficiaries of contracts between Nissan and its dealers and

21   specifically of Nissan’s express and implied warranties. The dealers were not intended to be
22   the ultimate consumers of the Class Vehicles and have no rights under the warranty agreements
23
     with the Class Vehicles. The warranty agreements were designed for and intended to benefit
24
     the consumers only.
25
        The amount in controversy of Plaintiffs’ individual claims meets or exceeds the sum or
26
     value of $25.00. In addition, the amount in controversy meets or exceeds the sum or value of
27

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 1   $50,000.00 (exclusive of interest and costs) computed on the basis of all claims to be

 2   determined in this suit.
 3      Nissan has been afforded reasonable opportunity to cure its breaches of warranty, including
 4
     when every Plaintiff brought his or her vehicle in for repair of the defective panoramic sunroof.
 5
        Pursuant to the provisions of 15 U.S.C. § 2310(e), Plaintiff and Class Members have all
 6
     sufficiently notified Nissan, thus providing Nissan with reasonable opportunity to correct its
 7
     business practices and cure its breach of warranties under the MMWA. Plaintiffs have already
 8

 9   sent MMWA notice letters to Nissan or are sending concurrently with the filing of the instant

10   complaint.

11      Nissan has not cured the breach of warranty described above and continues to deny

12   warranty coverage when Class Members present their vehicles for repair after their Class
13
     Vehicles’ panoramic sunroofs spontaneously shattered.
14
        Resorting to any informal dispute settlement procedure or affording Nissan another
15
     opportunity to cure its breach of warranty is unnecessary and futile. Any remedies available
16
     through any informal dispute settlement procedure would be inadequate under the
17
     circumstances, as Nissan has repeatedly failed to disclose the panoramic sunroof defect or
18

19   provide repairs at no cost and, therefore, has indicated no desire to participate in such a process

20   at this time. Any requirement under the MMWA or otherwise that Plaintiffs submit to any

21   informal dispute settlement procedure or otherwise afford Nissan a reasonable opportunity to
22   cure its breach of warranty(ies) is excused and/or has been satisfied.
23
        As a direct and proximate result of Nissan’s warranty(ies) breach, Plaintiffs and Class
24
     Members sustained damages and other losses to be determined at trial. Nissan’s conduct
25
     damaged Plaintiffs and Class Members, who are entitled to recover damages, specific
26
     performance, costs, attorneys’ fees, and other appropriate relief.
27

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 1                                             COUNT 2

 2                                     Unjust Enrichment
           (Plaintiffs individually, and on behalf of the representative State classes)
 3
        Plaintiffs re-allege and incorporate by reference the preceding paragraphs as if fully set
 4

 5   forth herein.

 6      As described above, Nissan sold Class Vehicles to Plaintiff and Class Members even

 7   though the panoramic sunroofs installed in those Class Vehicles were defective and posed a

 8   safety hazard. Nissan failed to disclose its knowledge of the sunroof defect and the defect’s
 9
     attendant risks-- at the point of sale or otherwise.
10
        Nissan unjustly charged and charges Plaintiff and Class Members for repairs and/or
11
     replacement of the defective panoramic sunroofs without disclosing that the defect is
12
     widespread and that the repairs do not address the root cause of the defect.
13
        As a result of its acts and omissions related to the defective sunroofs, Nissan obtained
14

15   monies that rightfully belong to Plaintiff and Class Members.

16      Nissan appreciated, accepted, and retained the non-gratuitous benefits conferred by

17   Plaintiffs and Class Members who, without knowledge of the defect, paid a higher price for
18   their vehicles than those vehicles were worth. Nissan also received monies for vehicles that
19
     Plaintiffs and Class Members would not have otherwise purchased had they been aware of the
20
     defect.
21
        It would be inequitable and unjust for Nissan to retain these wrongfully obtained profits.
22
        Nissan’s retention of these wrongfully-acquired profits would violate fundamental
23

24   principles of justice, equity, and good conscience.

25

26

27

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 1                                            COUNT 3

 2                     Violation of the Unfair Competition Law (“UCL”),
                               Cal. Bus. & Prof. Code § 17200, et seq.
 3                  (Plaintiffs Sherida Johnson and Chad Loury individually,
                               and on behalf of the California Class)
 4

 5      Plaintiffs Sherida Johnson and Char Loury re-allege and incorporate by reference the

 6   preceding paragraphs as if fully set forth herein.

 7      Nissan has violated and continues to violate California’s UCL, Cal. Bus. & Prof. Code §

 8   17200, et seq., which prohibits unlawful, unfair, and fraudulent business acts or practices.
 9
        Nissan’s acts and practices, alleged in this complaint, constitute unlawful, unfair, and
10
     fraudulent business practices, in violation of the UCL. In particular, Nissan sold Class Vehicles
11
     to Plaintiff Johnson and Class Members even though the panoramic sunroofs installed in those
12
     Class Vehicles were defective, posing a safety hazard. Further, Nissan failed to disclose its
13
     knowledge of the defect and the attendant risks of the defect at the point of sale or otherwise.
14

15      Nissan’s business acts and practices are unlawful in that they violate the Consumers Legal

16   Remedies Act, Cal. Civil Code § 1750, et seq. for the reasons set forth below.

17      Nissan’s acts and practices also constitute fraudulent practices in that they are likely to
18   deceive a reasonable consumer. As described above, Nissan knowingly concealed, continues
19
     to conceal, failed, and continues to fail to disclose at the point of sale and otherwise that Class
20
     Vehicles’ panoramic sunroofs have a propensity to spontaneously shatter, endangering the
21
     personal safety of drivers. Had Nissan disclosed that information, Plaintiff and Class Members
22
     would not have purchased Class Vehicles or would have paid significantly less for them.
23

24   Furthermore, Nissan charges for repairs of Plaintiffs’ and Class Members’ shattered panoramic

25   sunroofs without disclosing that the problem is widespread and that the repairs do not address

26   the root cause(s) of the defect.

27

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 1       Nissan’s conduct also constitutes unfair business practices for at least the following

 2   reasons:
 3               (a)    The gravity of potential harm to Plaintiffs and Class Members as a result of
 4
        Nissan’s acts and practices far outweighs any legitimate utility of Nissan’s conduct;
 5
                 (b)     Nissan’s conduct is immoral, unethical, oppressive, unscrupulous, or
 6
        substantially injurious to Plaintiff and Class Members; and
 7
                 (c)    Nissan’s conduct undermines or violates stated policies underlying the
 8

 9      UCL—to protect consumers against unfair and sharp business practices and to promote a

10       basic level of honesty and reliability in the marketplace.

11       As a direct and proximate result of Nissan’s business practices described herein, Plaintiffs

12   and Class Members suffered a foreseeable injury-in-fact and lost money or property because
13
     they purchased and paid for Class Vehicles that, had they known of the defect, they would not
14
     have purchased or, in the alternative, they only would have purchased for a lower amount.
15
         Plaintiffs and Class Members are entitled to equitable relief, including an order directing
16
     Nissan to disclose the existence of the defect inherent in its panoramic sunroofs and to provide
17
     restitution and disgorgement of all profits paid to Nissan as a result of its unfair, deceptive, and
18

19   fraudulent practices, reasonable attorneys’ fees and costs, and a permanent injunction enjoining

20   such practices.

21
                                               COUNT 4
22
                   Violation of the Consumers Legal Remedies Act (“CLRA”),
23
                                   Cal. Civ. Code § 1750, et seq.
24                  (Plaintiffs Sherida Johnson and Chad Loury individually,
                               and on behalf of the California Class)
25
         Plaintiffs Sherida Johnson and Chad Loury re-allege and incorporate by reference the
26
     preceding paragraphs as if fully set forth herein.
27

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 1      Nissan is a “person” within the meaning of Cal. Civ. Code §§ 1761(c) and 1770, and has

 2   provided “goods” within the meaning of Cal. Civ. Code §§ 1761 (b) and 1770.
 3      Plaintiffs and members of the proposed California Class are “consumers” within the
 4
     meaning of Cal. Civ. Code §§ 1761(d) and 1770 and have engaged in a “transaction” within
 5
     the meaning of Cal. Civ. Code §§ 1761 and 1770.
 6
        Nissan’s acts and practices, which were intended to result and which did result in the sale
 7
     of Class Vehicles with defective panoramic sunroofs, violate the CLRA for at least the
 8

 9   following reasons:

10              (a) Nissan represents that its vehicles with panoramic sunroofs had characteristics,

11      values, or benefits which they do not have;

12              (b) Nissan advertises its goods with intent not to sell them as advertised;
13
                (c) Nissan represents that its vehicles and panoramic sunroofs are of a particular
14
        standard, quality, or grade when they are not;
15
                (d) Nissan represents that a transaction conferred or involved rights, remedies, or
16
        obligations which they do not; and
17
                (e) Nissan represents that its goods have been supplied in accordance with a
18

19      previous representation when they have not.

20      As described herein, Nissan sold vehicles to Plaintiffs and Class Members even though the

21   panoramic sunroofs installed in those Class Vehicles are defective and pose a safety hazard,
22   and Nissan failed to disclose its knowledge of its panoramic sunroof defect and further failed
23
     to disclose the attendant risks associated with that defect at the point of sale or otherwise.
24
     Nissan intended that Plaintiffs and Class Members rely on this omission in deciding to
25
     purchase their vehicles. Plaintiffs and Class Members did in fact rely on said omission.
26

27

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 1      Had Nissan adequately disclosed the defect inherent in its panoramic sunroofs, Plaintiffs

 2   and Class Members would not have purchased their Class Vehicle or, in the alternative, they
 3   would have only been willing to pay less for their Class Vehicle. Furthermore, Nissan charged
 4
     Plaintiffs and Class Members (and continues to charge) for the repair and replacement of
 5
     defective panoramic sunroofs without disclosing that this spontaneous shattering problem is
 6
     widespread and that the repairs do not address the root cause(s) of the defect. Nor does Nissan
 7
     disclose that the replacement part used in repairs is substantially identical to the original
 8

 9   factory-installed panoramic sunroof, such that it may also spontaneously explode.

10      Pursuant to the provisions of the CLRA, Plaintiff will give notice of the defect to Nissan

11   and upon the expiration of the period described in Cal. Civ. Code Section 1782, subd. (d),

12   Plaintiffs will amend this Complaint to state a claim for damages under the CLRA.
13
                                             COUNT 5
14

15                Violations of New York Gen. Bus. Law § 349 (“GBL § 349”)
                                 (Deceptive Acts and Practices)
16     (Plaintiff Subrina Seenarain individually, and on behalf of the New York Class)

17      Plaintiff re-alleges and incorporates by reference the preceding paragraphs as if fully set

18   forth herein.
19
        Plaintiff, the New York Class Members, and Nissan are “persons” under GBL § 349.
20
        Nissan’s actions as set forth herein occurred in the conduct of trade or commerce under
21
     GBL § 349.
22
        GBL § 349 makes unlawful “[d]eceptive acts for practices in the conduct of any business,
23
     trade or commerce.” Nissan’s conduct, as set forth herein, constitutes deceptive acts or
24

25   practices under this section.

26

27

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 1      Nissan has long known that its panoramic sunroofs have a propensity to shatter

 2   spontaneously, posing a serious safety risk, which risk Nissan concealed and failed to disclose
 3   to Plaintiff and the proposed Class Members.
 4
        Nissan has further engaged in deceptive acts or practices by representing that defects in the
 5
     Class Vehicles would be covered under its warranty program, while systematically denying
 6
     coverage with respect to the defective panoramic sunroofs.
 7
        Nissan’s deceptive acts or practices have repeatedly occurred in its trade or business and
 8

 9   were and are capable of deceiving a substantial portion of the public. The acts complained of

10   herein are ongoing and/or have a substantial likelihood of being repeated.

11      Nissan’s unfair acts and practices affect the public interest. The unfair acts and practices

12   were committed in the general course of Nissan’s business and have already injured thousands
13
     of individuals nationwide. There is a likelihood that Nissan’s practices will injure other
14
     members of the public.
15
        As a direct and proximate result of Nissan’s unfair acts or practices, Plaintiff and New
16
     York Class Members suffered injury-in-fact and pecuniary loss. Nissan’s unfair or deceptive
17
     acts or practices resulted in Plaintiff and the New York Class Members: (i) expending out-of-
18

19   pocket monies for repairs of the Class Vehicles’ panoramic sunroofs, replacement of the Class

20   Vehicles’ panoramic sunroofs, and loss of use of the Class Vehicles while panoramic sunroofs

21   were being repaired and/or replaced; (ii) the failure of consideration in connection with and/or
22   difference in value arising out of the variance between the Class Vehicles as warranted and the
23
     Class Vehicles containing the defect; and (iii) the diminution of resale value of the Class
24
     Vehicles resulting from the defect.
25
        As a result of the foregoing willful, knowing, and wrongful conduct of Nissan, Plaintiff
26
     and the New York Class have been damaged in an amount to proven at trial, and seek all just
27

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 1   and proper remedies, including but not limited to actual damages or $50, whichever is greater,

 2   treble damages up to $1,000.00, punitive damages to the extent available under the law,
 3   reasonable attorneys’ fees and costs, an order enjoining Nissan’s deceptive and unfair conduct,
 4
     and all other just and appropriate relief under GBL § 349.
 5
        Plaintiff and the New York Class are also entitled to injunctive relief in the form of an
 6
     order prohibiting Nissan from engaging in the alleged misconduct and such othe7r equitable
 7
     relief as the Court deems appropriate, including, but not limited to, disgorgement, for the
 8

 9   benefit of the Class Members, of all or part of the ill-gotten profits Nissan received from the

10   failure to disclose defects with Class Vehicle panoramic sunroofs.

11

12                                           COUNT 7

13                              Breach of Express Warranty,
          New York Uniform Commercial Code (“N.Y. UCC”) §§ 2-313 and 2A-210
14     (Plaintiff Subrina Seenarain individually, and on behalf of the New York Class)
15      Plaintiff re-alleges and incorporates by reference the preceding paragraphs as if fully set
16   forth herein.
17
        Nissan is and was at all relevant times a “merchant” with respect to motor vehicles under
18
     N.Y. UCC § 2A-104(1) and “sellers” of motor vehicles under § 2-103(1)(d).
19
        With respect to leases, Nissan is and was at all times relevant times a “lessor” of motor
20
     vehicles under N.Y. UCC § 2A-103(1)(p).
21

22      The Class Vehicles are and were at all relevant times “goods” within the meaning of N.Y.

23   UCC §§ 2-105(1) and 2A-103(1)(h). In connection with the purchase or lease of its new

24   vehicles, Nissan provided an express New Vehicle Limited Warranty for a period of three years
25   or 36,000 miles, whichever occurs first.
26

27

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 1       This warranty covers any repairs needed to correct defects in materials or workmanship of

 2   all parts and components of each new Nissan vehicle supplied by Nissan subject to the
 3   exclusions listed under the heading “WHAT IS NOT COVERED” or, if the part is covered by
 4
     one of the separate coverages described in the following sections of this warranty, that specific
 5
     coverage applies instead of the basic coverage.
 6
         Nissan provided all purchasers and lessees of the Class Vehicles with the express
 7
     warranties described herein, which became part of the basis of the bargain. Accordingly,
 8

 9   Nissan’s warranties are express warranties under New York law.

10       The parts affected by the defect, including the panoramic sunroofs, and the brackets and

11   assemblies to which the sunroofs were attached, were manufactured and distributed by Nissan

12   in the Class Vehicles and are covered by the warranties Nissan provided to all purchasers and
13
     lessors of Class Vehicles.
14
         Nissan breached these warranties by selling and leasing Class Vehicles with the panoramic
15
     sunroof defect, requiring repair or replacement within the applicable warranty periods, and
16
     refusing to honor the warranties with free repairs or replacements during the applicable
17
     warranty periods.
18

19       Nissan further breached these warranties by not correcting the defect. Although Nissan

20   warranted that it would correct defects in materials and workmanship in the Class Vehicles,

21   Nissan instead replaced shattered sunroofs in the Class Vehicles with identical defective
22   sunroofs and thus has not corrected the defect. Nissan has failed and refused to conform the
23
     panoramic sunroofs in the Class Vehicles to the express warranty. Nissan’s conduct has voided
24
     any attempt to disclaim liability for its actions.
25
         Plaintiff and New York Class Members notified Nissan of the breach within a reasonable
26
     time or else they were not required to do so, because affording Nissan a reasonable opportunity
27

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 1   to cure its breach of written warranty would have been futile. Nissan also knew of the defect

 2   and chose to conceal it and to fail to comply with its warranty obligations.
 3      Nissan’s attempt to disclaim or limit these express warranties vis-à-vis consumers is
 4
     unconscionable and unenforceable under these circumstances. Nissan’s warranty limitation is
 5
     unenforceable because it knowingly sold a defective product without informing consumers
 6
     about the defect.
 7
        Nissan’s attempt to limit its express warranty in a manner that would result in replacing its
 8

 9   defectively designed panoramic sunroofs with identical defective sunroofs causes the warranty

10   to fail its essential purpose and renders the warranty null and void.

11      The time limits contained in Nissan’s warranty period were and are also unconscionable

12   and inadequate to protect Plaintiff and New York Class Members. Among other things,
13
     Plaintiff and New York Class Members had no meaningful choice in determining these time
14
     limitations, the terms of which unreasonably favored Nissan. A gross disparity in bargaining
15
     power exists between Nissan and the New York Class Members, and Nissan knew or should
16
     have known that the Class Vehicles were defective at the time of sale and would fail well
17
     before the end of the vehicles’ useful lives.
18

19      Plaintiff and New York Class Members have complied with all obligations under the

20   warranty, or otherwise have been excused from performance of those obligations as a result of

21   Nissan’s conduct described herein.
22      As a direct and proximate cause of Nissan’s breach, Plaintiff and the other New York Class
23
     Members bought or leased Class Vehicles they otherwise would not have, overpaid for their
24
     vehicles, did not receive the benefit of their bargain, and their Class Vehicles suffered a
25
     diminution in value. Plaintiffs and the New York Class Members have also incurred and will
26

27

28                                                   81
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 1   continue to incur costs for repair and replacement of defective panoramic sunroofs and damage

 2   resulting from the spontaneous shattering of such sunroofs.
 3      Accordingly, recovery by Plaintiff and the other New York Class Members is not restricted
 4
     to the limited warranty promising to repair and/or correct a manufacturing defect, and Plaintiff,
 5
     individually and on behalf of the other New York Class Members, seek all remedies as allowed
 6
     by law.
 7
        Plaintiff and New York Class Members are entitled to legal and equitable relief against
 8

 9   Nissan, including damages, consequential damages, specific performance, attorneys’ fees,

10   costs of suit, and such further relief as the Court may deem proper. Plaintiff and the other New

11   York Class Members have been damaged in an amount to be determined at trial.

12
                                             COUNT 8
13
                     Breach of the Implied Warranty of Merchantability,
14                New York Uniform Commercial Code §§ 2-314 and 2A-212
15     (Plaintiff Subrina Seenarain individually, and on behalf of the New York Class)

16      Plaintiff re-alleges and incorporates the preceding paragraphs as if fully set forth herein.

17      Nissan is and was at all relevant times a “merchant” with respect to motor vehicles under

18   N.Y. UCC § 2-104(1) and “seller” of motor vehicles under § 2A-103(d).
19      With respect to leases, Nissan is and was at all times relevant a “lessor” of motor vehicles
20
     under N.Y. UCC § 2A-103(1)(p).
21
        The Class Vehicles are and were at all times “goods” within the meaning of N.Y. UCC §§
22
     2-105(1) and 2A-103(1)(h).
23
        A warranty that the Class Vehicles were in merchantable condition and fit for the ordinary
24

25   purpose for which vehicles are used is implied by law pursuant to N.Y. UCC §§ 2-314 and 2A-

26   212.

27

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 1      These Class Vehicles, when sold or leased and at all times thereafter, were not in

 2   merchantable condition and are not fit for the ordinary purpose for which vehicles are used.
 3   Specifically, the Class Vehicles all were fitted with defective panoramic sunroofs having the
 4
     propensity to spontaneously explode.
 5
        Nissan was and is in actual or constructive privity with Plaintiff and New York Class
 6
     Members.
 7
        (a)   Plaintiff and the New York Class Members had and continue to have sufficient direct
 8

 9            dealings with Nissan and/or its authorized dealers, franchisees, representatives, and

10            agents to establish any required privity of contract. Nissan’s authorized dealers,

11            franchisees, representatives, and agents were not intended to be the ultimate

12            consumers of the Class Vehicles and have no rights under the warranty agreements
13            provided with the Class Vehicles. The warranty agreements were designed for and
14
              intended to benefit only the ultimate purchasers and lessees of the Class Vehicles,
15
              i.e., Plaintiffs and the New York Class Members.
16
        (b)   Privity is not required to assert this claim because Plaintiff and the New York Class
17
              Members are intended third-party beneficiaries of contracts between Nissan and its
18

19            dealers, franchisees, representatives, and agents.

20      (c)   By extending express written warranties to end-user purchasers and lessees, Nissan

21            brought itself into privity with Plaintiffs and New York Class Members.
22      At all relevant times, New York law imposed upon Nissan a duty that the sunroofs installed
23
     in the Class Vehicles were fit for the ordinary purposes for which panoramic sunroofs are used
24
     and that they pass without objection in the trade under the contract description.
25

26

27

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 1       Nissan has not validly disclaimed, excluded, or modified the implied warranties or duties

 2   described above, and any attempted disclaimer or exclusion of the implied warranties was and
 3   is ineffectual.
 4
         The sunroofs installed in the Class Vehicles were defective at the time they left Nissan’s
 5
     possession. Nissan knew of this defect at the time the purchase and lease transactions occurred.
 6
     Thus, the sunroofs installed in the Class Vehicles, when sold or leased and at all times
 7
     thereafter, were not in merchantable condition or quality because they are not fit for their
 8

 9   ordinary intended purpose and they do not pass without objection in the trade under the contract

10   description.

11       Nissan failed to inform Plaintiff and New York Class Members of the defective condition

12   of the panoramic sunroofs. The failure to warn Plaintiff and New York Class Members of this
13
     defective condition constitutes a further breach by Nissan of the implied warranties of
14
     merchantability.
15
         Plaintiff and New York Class Members used the sunroofs installed in the Class Vehicles
16
     in a manner consistent with their intended use and performed each and every duty required
17
     under the terms of the warranties, except as may have been excused or prevented by the
18

19   conduct of Nissan or by operation of law in light of Nissan’s unconscionable conduct.

20       Nissan had actual knowledge of, and received timely notice regarding, the defect at issue

21   in this litigation and, notwithstanding such notice, failed and refused to offer an effective
22   remedy.
23
         In addition, Nissan received, on information and belief, numerous consumer complaints
24
     and other notices from customers advising of the defect associated with the sunroofs installed
25
     in the Class Vehicles.
26

27

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 1       By virtue of the conduct described herein, Nissan breached the implied warranty of

 2   merchantability.
 3       As a direct and proximate result of Nissan’s breach of warranties, Plaintiff and New York
 4
     Class Members suffered economic damage, including loss attributable to the diminished value
 5
     of their Class Vehicles, loss of use of their Class Vehicles and other tangible property, as well
 6
     as the monies spent and to be spent to repair and/or replace their sunroofs.
 7
         Plaintiff and New York Class Members are entitled to legal and equitable relief against
 8

 9   Nissan, including damages, consequential damages, specific performance, attorney fees, costs

10   of suit, and such further relief as the Court may deem proper.

11       As a direct and proximate result of Nissan’s breach of the implied warranty of

12   merchantability, Plaintiff and New York Class Members have been damaged in amount to be
13
     proven at trial.
14

15                                           COUNT 9

16                 Violations of New York Gen. Bus. Law § 350 (“GBL § 350”)
                                      (False Advertising)
17      (Plaintiff Subrina Seenarain individually, and on behalf of the New York Class)

18       Plaintiff incorporates by reference each preceding paragraphs as if fully set forth herein.
19       Nissan was engaged in the “conduct of business, trade or commerce.” GBL § 350. False
20
     advertising includes “advertising, including labeling, of a commodity. . . if such advertising
21
     fails to reveal facts material in light of . . . representations [made] with respect to the
22
     commodity. . .” GBL § 350-a.
23
         Nissan caused to be made or disseminated through New York, via advertising, marketing,
24

25   and other publications, statements, and omissions that were untrue or misleading to Plaintiff

26   and New York Class Members.

27       Below is a current advertisement for a Nissan Maxima panoramic sunroof:

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 1

 2

 3

 4

 5

 6

 7

 8

 9                                 Dual Panel Panoramic Moonroof

10          The panoramic moonroof is simply massive. So big that it reaches over the back seats,

11          allowing co-pilots and navigators alike to enjoy the feeling of an open atmosphere and an

12          unfettered view of the sky above.
13
     (http://www.nissanusa.com/buildyournissan/vehicle-
14
     images/2016/MAX/XGC60NIC051C0/3a49a64abb81897202d2f791cf4ed819/Maxima/SL/Dual-
15
     Panel-Panoramic-Moonroof/Interior; website accessed on September 20, 2016.)
16
            Nissan made numerous material misrepresentations and omissions of fact with intent to
17
        mislead and deceive concerning the Class Vehicles, particularly with regard to the
18

19      sustainability/fitness of the panoramic sunroofs. Specifically, Nissan intentionally concealed

20      and suppressed material facts concerning the quality of the Class Vehicles in order to

21      intentionally and grossly defraud and mislead Plaintiff and New York Class Members
22      concerning the safety of the panoramic sunroof feature.
23
            The misrepresentations and omissions set forth above were material and likely to deceive
24
        a reasonable consumer. The inherent defect was undetectable to the ordinary consumer.
25
            Nissan intentionally and knowingly misrepresented material facts regarding the Class
26
        Vehicles with intent to mislead Plaintiff and New York Class Members.
27

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 1      Nissan’s false advertising was likely to and did, in fact, deceive reasonable consumers

 2   including Plaintiff and New York Class Members about the true characteristics of the
 3   panoramic sunroof.
 4
        Nissan’s violations of GBL § 350 present a continuing risk to Plaintiff and to the general
 5
     public. Nissan’s deceptive acts and practices affect the public interest.
 6
        The Class Vehicles do not perform as advertised and make them far less valuable than
 7
     advertised.
 8

 9      Plaintiff and New York Class Members who purchased Class Vehicles either would not

10   have purchased those vehicles at all or else paid less for the Class Vehicles but for Nissan’s

11   false advertising in violation of GBL § 350. New York Class Members who leased Class

12   Vehicles either would not have leased them at all or would have leased them at a lower cost
13
     but for Nissan’s false advertising in violation of GBL § 350.
14
        Plaintiff and New York Class have suffered injury-in-fact and/or actual damages and
15
     ascertainable loss as a direct and proximate result of the Nissan’s false advertising in violation
16
     of GBL § 350, including but not limited to purchasing or leasing a diminished value or
17
     complete lost value for the Class Vehicles purchased or leased.
18

19      Plaintiff and New York Class have suffered lost or diminished use, enjoyment, and utility

20   of their Class Vehicles along with suffering annoyance, aggravation, and inconvenience

21   resulting from Nissan’s violations of GBL § 350.
22      Plaintiff and New York Class Members seek monetary relief against Nissan measured as
23
     the greater of (a) actual damages in an amount to be determined at trial and (b) statutory
24
     damages in the amount of $500.00 each for New York Class Members. Because Nissan’s
25
     conduct was committed willingly and knowingly, Plaintiff and New York Class Members are
26
     entitled to recover three times actual damages, up to 10,000.00.
27

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 1      Plaintiff and New York Class also seek an order enjoining Nissan’s false advertising and

 2   further seeks attorneys’ fees and any other just and proper relief under GBL § 350.
 3
                                             COUNT 10
 4

 5                       Violations of the Colorado Consumer Protection Act
                                       (Col. Rev. Stat. § 6-1-101, et seq.)
 6             (Plaintiff Linda Spry individually, and on behalf of the Colorado Class)

 7      Plaintiffs incorporate by reference each preceding paragraph as though fully set forth

 8   herein.
 9      Plaintiff Linda Spry brings this action on behalf of herself and the Colorado Class.
10
        Defendant is a "person[s]" under § 6-1-102(6) of the Colorado Consumer Protection Act
11
     ("Colorado CPA"), Col. Rev. Stat. § 6-1-101, et seq.
12
        Plaintiff and Colorado Class members are "consumers" for purposes of Col. Rev. Stat §
13
     6-1-113(1)(a) who purchased or leased one or more Class Vehicles.
14

15      The Colorado CPA prohibits deceptive trade practices in the course of a person’s business.

16   Nissan engaged in deceptive trade practices prohibited by the Colorado CPA, including: (1)

17   knowingly making a false representation as to the characteristics, uses and benefits of the Class

18   Vehicles that had the capacity or tendency to deceive Colorado Class Members; (2)
19
     representing that the Class Vehicles are of a particular standard, quality and grade even though
20
     Nissan knew or should have known they are not; (3) advertising the Class Vehicles with the
21
     intent not to sell them as advertised; and (4) failing to disclose material information concerning
22
     the Class Vehicles that was known to Nissan at the time of advertisement or sale with the intent
23
     to induce Colorado Class members to purchase, lease or retain the Class Vehicles.
24

25      In the course of their business, Nisan concealed and suppressed material facts concerning

26   the Class Vehicles. Nissan made numerous material misrepresentations and omissions of fact

27   with intent to mislead and deceive concerning the Class Vehicles, particularly with regard to

28                                                 88
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 1   the sustainability/fitness of the panoramic sunroofs. Specifically, Nissan intentionally

 2   concealed and suppressed material facts concerning the quality of the Class Vehicles in order
 3   to intentionally and grossly defraud and mislead Plaintiff and Colorado Class Members
 4
     concerning the safety of the panoramic sunroof feature. Nissan should have disclosed the
 5
     Defect to consumers prior to purchasing decisions being made as the existence of the Defect
 6
     would have influenced the consumer’s purchasing decision.
 7
        Defendants thus violated the Act by, at minimum: employing deception, deceptive acts or
 8

 9   practices, fraud, misrepresentations, or concealment, suppression or omission of any material

10   fact with intent that others rely upon such concealment, suppression or omission, in connection

11   with the sale of Class Vehicles. Nissan’s actions as set forth above occurred in the conduct

12   of trade or commerce. Nissan intentionally and knowingly misrepresented material facts
13
     regarding the Class Vehicles with intent to mislead Plaintiff and the Colorado Class.
14
     Nissan knew or should have known that its conduct violated the Colorado CPA.
15
        Nissan owed Plaintiff a duty to disclose public health and safety risks and the devaluing of
16
     safety at Nissan, because Nissan made incomplete representations about the safety of the Class
17
     Vehicles, while purposefully withholding material facts from Plaintiff and the Colorado Class
18

19   that contradicted these representations.

20      Defendants concealed the defective panoramic sunroofs in the Class Vehicles resulting in

21   a raft of negative publicity once the defects finally began to be disclosed. The value of the
22   Class Vehicles has therefore greatly diminished. In light of the stigma attached to those
23
     vehicles by Nissan’s conduct, the Class Vehicles are now worth significantly less than they
24
     otherwise would be worth.
25

26

27

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 1      Nissan’s unfair or deceptive acts or practices were likely to and did in fact deceive

 2   reasonable consumers, including Plaintiff, about the true quality of the Nissan brand, and the
 3   devaluing of the integrity at Nissan, and the true value of the Class Vehicles.
 4
        Plaintiff and the Colorado Class suffered ascertainable loss and actual damages as a direct
 5
     and proximate result of Nissan’ misrepresentations and its concealment of and failure to
 6
     disclose material information. Plaintiff and the Colorado Class members who purchased or
 7
     leased the Class Vehicles would not have purchased or leased them at all and/or – if the
 8

 9   Vehicles’ true nature had been disclosed and mitigated - would have paid significantly less for

10   them. Plaintiff and the Colorado Class also suffered diminished value of their vehicles, as well

11   as lost or diminished use.

12      Nissan had an ongoing duty to all Nissan customers to refrain from unfair and deceptive
13
     practices under the Colorado CPA. All owners of Class Vehicles suffered ascertainable loss in
14
     the form of the diminished value of their vehicles as a result of Nissan’s deceptive and unfair
15
     acts and practices made in the course of Nissan’s business.
16
        Plaintiff and Colorado Class members risk irreparable injury as a result of Nissan’s acts
17
     and omissions in violation of the Colorado CPA, and these violations present a continuing risk
18

19   to Plaintiff and Class members as well as to the general public. Nissan’s unlawful acts and

20   practices complained of herein affect the public interest.

21      As a direct and proximate result of Nissan’s Defendants’ violations of the Colorado CPA,
22   Plaintiff and Colorado Class have suffered injury-in-fact and/or actual damage.
23
        Pursuant to Colo. Rev. Sat. § 6-1-113, Plaintiff, individually and on behalf of the Colorado
24
     Class, seeks monetary relief against Nissan measured as the greater of (a) actual damages in
25
     an amount to be determined at trial and discretionary trebling of such damages, or (b) statutory
26
     damages in the amount of $500 for each Plaintiff and each Colorado Class member.
27

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 1       Plaintiff also seeks an order enjoining Nissan’s unfair, unlawful, and/or deceptive

 2   practices, declaratory relief, attorneys’ fees, and any other just and proper relief available under
 3   the Colorado CPA.
 4
                                              COUNT 11
 5
                       Breach of The Implied Warranty of Merchantability
 6                         (Col. Rev. State. §§ 4-2-313 and 4-2.5-212)
            (Plaintiff Linda Spry individually, and on behalf of the Colorado Class)
 7
         Plaintiffs reallege and incorporate by reference all allegations of the preceding paragraphs
 8
     as though fully set forth herein.
 9

10       Plaintiff Spry brings this Count on behalf of the Colorado Class, against Nissan.

11       Nissan is and was at all relevant times “merchant[s]” with respect to motor vehicles under

12   Colo. Rev. Stat. §§ 4-2-104(1) and 4-2.5-103(3), and a “seller[s]” of motor vehicles under § 4-
13   2-103(1)(d).
14
         With respect to leases, Nissan was at all relevant times a “lessor[s]” of motor vehicles under
15
     Colo. Rev. Stat. § 4-2-.5-103(1)(p).
16
         The Class Vehicles are and were at all relevant times “goods’ within the meaning of Colo.
17
     Rev. Stat. §§ 4-2-105(1) and 4-2.5-103(1)(h).
18

19       A warranty that the Class Vehicles were in merchantable condition and fit for the ordinary

20   purpose for which vehicles are used is implied by law pursuant to Colo. Rev. Stat. §§ 4-2-313

21   and 4-2.5-212).

22       These Class Vehicles, when sold or leased and at all times thereafter, were not in
23
     merchantable condition and are not fit for the ordinary purposed for which vehicles are used.
24
     Specifically, the Class Vehicles are inherently defective in that time.
25
         Nissan was provided notice language re notice of these issues by the investigations of
26
     federal regulators, numerous complaints filed against it including the instant Complaint, and
27

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 1   by numerous individual letters and communications sent by Plaintiffs and others within a

 2   reasonable amount of time after the allegations of Class Vehicle defects became public.
 3      Nissan was and is in actual or constructive privity with Plaintiff and Colorado Class
 4
        Members.
 5
        (a)     Plaintiff and the Colorado Class Members had and continue to have sufficient direct
 6
                dealings with Nissan and/or its authorized dealers, franchisees, representatives, and
 7
                agents to establish any required privity of contract. Nissan’s authorized dealers,
 8

 9              franchisees, representatives, and agents were not intended to be the ultimate

10              consumers of the Class Vehicles and have no rights under the warranty agreements

11              provided with the Class Vehicles. The warranty agreements were designed for and

12              intended to benefit only the ultimate purchasers and lessees of the Class Vehicles,
13
                i.e., Plaintiffs and the Colorado Class Members.
14
        (b)     Privity is not required to assert this claim because Plaintiff and the Colorado Class
15
                Members are intended third-party beneficiaries of contracts between Nissan and its
16
                dealers, franchisees, representatives, and agents.
17
        (c)     By extending express written warranties to end-user purchasers and lessees, Nissan
18

19              brought itself into privity with Plaintiff and Colorado Class Members.

20      At all relevant times, Colorado law imposed upon Nissan a duty that the sunroofs installed

21      in the Class Vehicles were fit for the ordinary purposes for which panoramic sunroofs are
22      used and that they pass without objection in the trade under the contract description.
23
        Nissan has not validly disclaimed, excluded, or modified the implied warranties or duties
24
        described above, and any attempted disclaimer or exclusion of the implied warranties was
25
        and is ineffectual.
26

27

28                                                92
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 1      The sunroofs installed in the Class Vehicles were defective at the time they left Nissan’s

 2      possession. Nissan knew of this defect at the time the purchase and lease transactions
 3      occurred. Thus, the sunroofs installed in the Class Vehicles, when sold or leased and at all
 4
        times thereafter, were not in merchantable condition or quality because they are not fit for
 5
        their ordinary intended purpose and they do not pass without objection in the trade under
 6
        the contract description.
 7
        Nissan failed to inform Plaintiff and Colorado of the defective condition of the panoramic
 8

 9      sunroofs. The failure to warn Plaintiff and Colorado Class Members of this defective

10      condition constitutes a further breach by Nissan of the implied warranties of

11      merchantability.

12      Plaintiff and Colorado Class Members used the sunroofs installed in the Class Vehicles in
13
        a manner consistent with their intended use and performed each and every duty required
14
        under the terms of the warranties, except as may have been excused or prevented by the
15
        conduct of Nissan or by operation of law in light of Nissan’s unconscionable conduct.
16
        Nissan had actual knowledge of, and received timely notice regarding, the defect at issue
17
        in this litigation and, notwithstanding such notice, failed and refused to offer an effective
18

19      remedy.

20      In addition, Nissan received, on information and belief, numerous consumer complaints

21      and other notices from customers advising of the defect associated with the sunroofs
22      installed in the Class Vehicles.
23
        By virtue of the conduct described herein, Nissan breached the implied warranty of
24
        merchantability.
25
        As a direct and proximate result of Nissan’s breach of warranties, Plaintiff and Colorado
26
        Class Members suffered economic damage, including loss attributable to the diminished
27

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 1      value of their Class Vehicles, loss of use of their Class Vehicles and other tangible property,

 2      as well as the monies spent and to be spent to repair and/or replace their sunroofs.
 3      Plaintiff and Colorado Class Members are entitled to legal and equitable relief against
 4
        Nissan, including damages, consequential damages, specific performance, attorney fees,
 5
        costs of suit, and such further relief as the Court may deem proper.
 6
        As a direct and proximate result of the Nissan Defendants’ breach of the implied warranty
 7
     of merchantability, Plaintiffs and other Colorado Class members have been damaged in an
 8

 9   amount to be proven at trial.

10                                           COUNT 12

11                                Breach Of Express Warranty
                           (Colo. Rev. Stat. §§ 4-2-313 and 4-2.5-210)
12          (Plaintiff Linda Spry individually, and on behalf of the Colorado Class)
13      Plaintiffs reallege and incorporate by reference all preceding allegations as though fully set
14
     forth herein.
15
        Plaintiff Spry brings this Count on behalf of the Colorado Class against Nissan.
16
        Nissan is and was at all relevant times a “merchant[s]” with respect to motor vehicles under
17
     Colo. Rev. Stat. §§ 4-2-104(1) and 4-2.5-103(3), and a “seller[s]” of motor vehicles under § 4-
18

19   2-103(1)(d).

20      With respect to leases, Nissan was at all relevant times a “lessor[s]” of motor vehicles under

21   Colo. Rev. Stat. § 4-2-.5-103(1)(p).
22      The Class Vehicles are and were at all relevant times “goods’ within the meaning of Colo.
23
     Rev. Stat. §§ 4-2-105(1) and 4-2.5-103(1)(h).
24
        In connection with the purchase or lease of each one of its new vehicles, Nissan provided
25
     an express New Vehicle Limited Warranty (“NVLW”) for a period of three years or 36,000
26

27

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 1   miles, whichever occurs first. This NVLW exists to cover and to correct defects in materials

 2   or workmanship of all parts and components of each Nissan vehicle.”
 3      Nissan warranties formed a basis of the bargain that was reached when Plaintiff and other
 4
     Colorado Class members who purchased or leased their Class Vehicles equipped with
 5
     panoramic sunroofs.
 6
        Plaintiff and the Colorado Class members experienced defects within the warranty period.
 7
     Despite the existence of warranties, Nissan failed to inform Plaintiff and Colorado Class
 8

 9   members that the Class Vehicles were defectively manufactured and failed to fix the defective

10   panoramic sunroofs free of charge.

11      Nissan breached the express warranty promising to repair and correct a manufacturing

12   defect or materials or workmanship of any parts they supplied. Nissan has not repaired or
13
     adjusted, and have been unable to repair or adjust, the Class Vehicles’ materials and
14
     workmanship defects.
15
        Affording Nissan a reasonable opportunity to cure their breach of written warranties would
16
     be unnecessary and futile here.
17
        Furthermore, the limited warranty promising to repair and/or correct a manufacturing
18

19   defect fails in its essential purpose because the contractual remedy is insufficient to make

20   Plaintiffs and the other Colorado Class members whole and because Nissan has failed and/or

21   have refused to adequately provide the promised remedies within a reasonable time.
22      Accordingly, recovery by Plaintiff and the other Colorado Class members is not restricted
23
     to the limited warranty promising to repair and/or correct a manufacturing defect, and Plaintiff,
24
     individually and on behalf of the other Colorado Class members, seeks all remedies as allowed
25
     by law.
26

27

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 1      Also, as alleged in more detail herein, at the time Nissan warranted and sold or leased the

 2   Class Vehicles, they knew that the Class Vehicles were inherently defective and did not
 3   conform to their warranties; further, Nissan had wrongfully and fraudulently concealed
 4
     material facts regarding the Class Vehicles. Plaintiff and the other Colorado Class members
 5
     were therefore induced to purchase or lease the Class Vehicles under false and/or fraudulent
 6
     pretenses.
 7
        Moreover, many of the injuries flowing from the Class Vehicles cannot be resolved through
 8

 9   the limited remedy of "replacements or adjustments," as many incidental and consequential

10   damages have already been suffered because of Nissan's fraudulent conduct as alleged herein,

11   and because of its failure and/or continued failure to provide such limited remedy within a

12   reasonable time, and any limitation on Plaintiffs' and the other Colorado Class members'
13
     remedies would be insufficient to make Plaintiffs and the other Colorado Class members
14
     whole.
15
        Finally, because of Nissan’s breach of warranty as set forth herein, Plaintiff and the other
16
     Colorado Class members assert, as additional and/or alternative remedies, the revocation of
17
     acceptance of the goods and the return to Plaintiff and the other Colorado Class members of
18

19   the purchase or lease price of all Class Vehicles currently owned or leased, and for such other

20   incidental and consequential damages as allowed.

21      Nissan was provided notice of these issues by numerous complaints filed against them,
22   including the instant Complaint, within a reasonable amount of time after Nissan became aware
23
     of the defective panoramic sunroofs in the Class Vehicles.
24

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 1                                           COUNT 13

 2                             Violations of Florida's Deceptive And
                             Unfair Trade Practices Act (“FDUPTA”)
 3                                  (Fla. Stat. § 501.201, et seq.)
             (Plaintiff Lisa Sullivan individually, and on behalf of the Florida Class)
 4

 5      Plaintiffs incorporate by reference all preceding allegations as though fully set forth herein.

 6      Plaintiff Sullivan brings this action on behalf of themselves and the Florida Class against

 7   Nissan.
 8      Plaintiff and the Florida Class members are "consumers" within the meaning of the Florida
 9
     Deceptive and Unfair Trade Practices Act (“FDUTPA”).
10
        Defendants are engaged in "trade or commerce" within the meaning of Fla. Stat. 21§
11
     501.203(8).
12
        FDUTPA prohibits "[u]nfair methods of competition, unconscionable acts or practices, and
13

14   unfair or deceptive acts or practices in the conduct of any trade or commerce ..." Fla. Stat. §

15   501.204(1). Defendants participated in unfair and deceptive trade practices that violated the

16   FDUTPA as described herein.
17      In the course of their business, Defendants concealed and suppressed material facts
18
     concerning the Class Vehicles.
19
        Nissan owed Plaintiff and the Florida Class a duty to disclose the foregoing panoramic
20
     sunroof defects and public health and safety risks of the Class Vehicles because they:
21
        a.       intentionally concealed the defects in the panoramic sunroofs from regulators,
22
                 Plaintiff, Class members; and/or
23

24
        b.       made incomplete representations, purposefully withholding material facts from
25
                 Plaintiffs that contradicted these representations.
26

27

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 1       Because Nissan fraudulently concealed the true nature of the panoramic sunroofs, resulting

 2   in a raft of negative publicity once the defects finally began to be disclosed, the value of the
 3   Class Vehicles has greatly diminished.
 4
         Nissan's fraudulent concealment of the true characteristics of the "panoramic sunroofs" was
 5
     material to Plaintiff and the Florida Class.
 6
         Nissans' unfair or deceptive acts or practices were likely to and did in fact deceive
 7
     regulators and reasonable consumers, including Plaintiff and Florida Class members, about the
 8

 9   quality of the Nissan brand, the devaluing of integrity at Nissan, and the true value of the Class

10   Vehicles.

11       Plaintiff and the Florida Class suffered ascertainable loss and actual damages as a direct

12   and proximate result of Defendants' misrepresentations and their concealment of and failure to
13
     disclose material information. Plaintiff and the Florida Class members who purchased or leased
14
     the Class Vehicles would not have purchased or leased the vehicles at all, or alternatively,
15
     would have paid less for them. Plaintiff and the Florida Class also suffered diminished value
16
     of their vehicles, as well as lost or diminished use.
17
         Defendants had an ongoing duty to all Nissan customers to refrain from unfair and
18

19   deceptive practices under the FDUTPA. All owners of Class Vehicles suffered ascertainable

20   loss in the form of the purchase or lease price as well as the diminished value of their vehicles

21   as a result of Defendants' deceptive and unfair acts and practices.
22       Plaintiff and Florida Class members risk irreparable injury as a result of Defendants ' acts
23
     and omissions in violation of the FDUTPA, and these violations present a continuing risk to
24
     Plaintiff as well as to the general public. Defendants' unlawful acts and practices complained
25
     of herein affect the public interest.
26

27

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 1      As a direct and proximate result of Defendants ' violations of the FDUTPA, Plaintiff and

 2   the Florida Class have suffered injury-in-fact and/or actual damage.
 3      Plaintiff and the Florida Class are entitled to recover their actual damages under Fla. Stat.
 4
     § 501.211(2) and attorneys' fees under Fla. Stat. § 501.2105(1).
 5
        Plaintiff also seeks an order enjoining Defendants' unfair, unlawful, and/or deceptive
 6
     practices, declaratory relief, attorneys' fees, and any other just and proper relief available under
 7
     the FDUTPA.
 8

 9
                                              COUNT 14
10
                         Breach of Implied Warranty of Merchantability
11                                (F.S.A. §§ 672.314 and 680.212)
            (Plaintiff Lisa Sullivan individually, and on behalf of the Florida Class)
12
        Plaintiffs realleges and incorporates by reference all allegations of the preceding
13
     paragraphs as though fully set forth herein.
14

15      Plaintiff Sullivan brings this action on behalf of herself and the Florida Class against

16   Nissan.

17      Nissan is and was at all relevant times a "merchant[s]" with respect to motor vehicles under

18   F.S.A. § § 672.104(1) and 680.1031(3)(k), and a "seller[s]" of motor vehicles under §
19
     672.103(1 )(d).
20
        With respect to leases, Nissan is and was at all relevant times a "lessor[s]" of motor vehicles
21
     under F.S.A. § 680.103l (l)(p).
22
        The Class Vehicles are and were at all relevant times "goods" within the meaning of F.S.A.
23
     § § 672.105(1) and 680.103l (l)(h).
24

25      A warranty that the Class Vehicles were in merchantable condition and fit for the ordinary

26   purpose for which vehicles are used is implied by law pursuant to F.S.A. §§ 672.314 and

27   680.212.

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                       THIRD AMENDED CLASS ACTION COMPLAINT
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 1      These Class Vehicles, when sold or leased and at all times thereafter, were not in

 2   merchantable condition and are not fit for the ordinary purpose for which vehicles are used.
 3   Nissan violated federal law and therefore engaged in conduct that violates F.S.A. §§ 672.314
 4
     and 680.212.
 5
        Nissan was and is in actual or constructive privity with Plaintiff and Florida Class
 6
     Members.
 7
        (a)     Plaintiff and the Florida Class Members had and continue to have sufficient direct
 8

 9              dealings with Nissan and/or its authorized dealers, franchisees, representatives, and

10              agents to establish any required privity of contract. Nissan’s authorized dealers,

11              franchisees, representatives, and agents were not intended to be the ultimate

12              consumers of the Class Vehicles and have no rights under the warranty agreements
13              provided with the Class Vehicles. The warranty agreements were designed for and
14
                intended to benefit only the ultimate purchasers and lessees of the Class Vehicles,
15
                i.e., Plaintiffs and the Florida Class Members.
16
        (b)     Privity is not required to assert this claim because Plaintiff and the Florida Class
17
                Members are intended third-party beneficiaries of contracts between Nissan and its
18

19              dealers, franchisees, representatives, and agents.

20      (c)     By extending express written warranties to end-user purchasers and lessees, Nissan

21              brought itself into privity with Plaintiffs and Florida Class Members.
22      At all relevant times, Florida law imposed upon Nissan a duty that the sunroofs installed
23
     in the Class Vehicles were fit for the ordinary purposes for which panoramic sunroofs are used
24
     and that they pass without objection in the trade under the contract description.
25

26

27

28                                                100
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 1       Nissan has not validly disclaimed, excluded, or modified the implied warranties or duties

 2   described above, and any attempted disclaimer or exclusion of the implied warranties was and
 3   is ineffectual.
 4
         The sunroofs installed in the Class Vehicles were defective at the time they left Nissan’s
 5
     possession. Nissan knew of this defect at the time the purchase and lease transactions occurred.
 6
     Thus, the sunroofs installed in the Class Vehicles, when sold or leased and at all times
 7
     thereafter, were not in merchantable condition or quality because they are not fit for their
 8

 9   ordinary intended purpose and they do not pass without objection in the trade under the contract

10   description.

11       Nissan failed to inform Plaintiff and Florida Class Members of the defective condition of

12   the panoramic sunroofs. The failure to warn Plaintiff and Florida Class Members of this
13
     defective condition constitutes a further breach by Nissan of the implied warranties of
14
     merchantability.
15
         Plaintiff and Florida Class Members used the sunroofs installed in the Class Vehicles in a
16
     manner consistent with their intended use and performed each and every duty required under
17
     the terms of the warranties, except as may have been excused or prevented by the conduct of
18

19   Nissan or by operation of law in light of Nissan’s unconscionable conduct.

20       Nissan had actual knowledge of, and received timely notice regarding, the defect at issue

21   in this litigation and, notwithstanding such notice, failed and refused to offer an effective
22   remedy.
23
         In addition, Nissan received, on information and belief, numerous consumer complaints
24
     and other notices from customers advising of the defect associated with the sunroofs installed
25
     in the Class Vehicles.
26

27

28                                                101
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 1      By virtue of the conduct described herein, Nissan breached the implied warranty of

 2   merchantability.
 3      As a direct and proximate result of Nissan’s breach of warranties, Plaintiff and Florida
 4
     Class Members suffered economic damage, including loss attributable to the diminished value
 5
     of their Class Vehicles, loss of use of their Class Vehicles and other tangible property, as well
 6
     as the monies spent and to be spent to repair and/or replace their sunroofs.
 7
        Plaintiff and Florida Class Members are entitled to legal and equitable relief against Nissan,
 8

 9   including damages, consequential damages, specific performance, attorney fees, costs of suit,

10   and such further relief as the Court may deem proper.

11                                           COUNT 15

12                      Violations of Illinois Consumer Fraud And Deceptive
                                         Business Practices Act
13
                           (815 ILCS 505/1, et. seq. and 720 ILCS 295/1a)
14             (Plaintiff April Ahrens individually, and on behalf of the Illinois Class

15      Plaintiffs incorporate by reference each preceding paragraph as though fully set forth

16   herein.

17      Plaintiff Ahrens brings this action on behalf of herself and the Illinois Class against Nissan.
18      Defendants are "person[s]" as that term is defined in 815 ILCS 505/ l (c).
19
        Plaintiff and the Illinois Class are "consumers" as that term is defined in 815 ILCS 505/l(e).
20
        The Illinois Consumer Fraud and Deceptive Business Practices Act ("Illinois CFA")
21
     prohibits "unfair or deceptive acts or practices, including but not limited to the use or
22
     employment of any deception, fraud, false pretense, false promise, misrepresentation or the
23

24   concealment, suppression or omission of any material fact, with intent that others rely upon

25   the concealment, suppression or omission of such material fact ... in the conduct of trade or

26   commerce ... whether any person has in fact been misled, deceived or damaged thereby." 815

27   ILCS 505/2.
28                                                102
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 1       In the course of their business, including at the point of sale while attempting to persuade

 2   potential customers to purchase Nissan vehicles, Nissan concealed, suppressed, and
 3   intentionally omitted material facts concerning the Class Vehicles. Plaintiff and Illinois Class
 4
     members had no way of discerning that Nissan's representations were false and misleading.
 5
     Plaintiff and Illinois Class members did not and could not unravel Nissan's deception on their
 6
     own.
 7
         Nissan thus violated the Act by, at minimum willfully failing to disclose and actively
 8

 9   concealing the manufacturing defect in the panoramic sunroofs.

10       Nissan engaged in misleading, false, unfair or deceptive acts or practices that violated the

11   Illinois CFA by failing to disclose and actively concealing the manufacturing defect their

12   panoramic sunroofs.
13
         Nissan intentionally and knowingly misrepresented material facts regarding the Class
14
     Vehicles with intent to mislead Plaintiff and the Illinois Class.
15
         Nissan knew or should have known that its conduct violated the Illinois CFA. Nissan owed
16
     Plaintiff and the Illinois Class a duty to disclose the illegality and public health and safety risks
17
     of the Class Vehicles because they:
18

19       a.      possessed exclusive knowledge that they were manufacturing, selling, and

20               distributing vehicles with a manufacturing defect throughout the United States;

21       b.      intentionally concealed the foregoing from regulators, Plaintiff, Illinois Class
22               members; and/or
23
         c.      made incomplete representations about the manufacturing defects in the Class
24
                 Vehicles while purposefully withholding material facts from Plaintiff and Illinois
25
                 Class members that contradicted these representations.
26

27

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 1       Nissan concealed the manufacturing defects in their panoramic sunroofs resulting in a raft

 2   of negative publicity once the defects finally began to be disclosed. The value of the Class
 3   Vehicles has greatly diminished. In light of the stigma attached to those vehicles by Nissan's
 4
     conduct, they are now worth significantly less than they otherwise would be worth.
 5
         Nissan's fraudulent concealment of the true characteristics of their panoramic sunroofs was
 6
     material to Plaintiff and the Illinois Class.
 7
         Nissan’s unfair or deceptive acts or practices were likely to and did in fact deceive
 8

 9   regulators and reasonable consumers, including Plaintiff, about the true quality of the Nissan

10   brand, the devaluing of integrity at Nissan, and the true value of the Class Vehicles.

11       Plaintiff and the Illinois Class suffered ascertainable loss and actual damages as a direct

12   and proximate result of Defendants' misrepresentations and its concealment of and failure to
13
     disclose material information. Plaintiff and the Illinois Class members who purchased or leased
14
     the Class Vehicles would not have purchased or leased them at all and/or-if the Vehicles' true
15
     nature had been disclosed and mitigated, and would have paid significantly less for them.
16
     Plaintiff and Class members also suffered diminished value of their vehicles, as well as lost or
17
     diminished use.
18

19       Nissan had an ongoing duty to all of their customers to refrain from unfair and deceptive

20   practices under the Illinois CFA. All owners of Class Vehicles suffered ascertainable loss in

21   the form of the diminished value of their vehicles as a result of Nissan's deceptive and unfair
22   acts and practices made in the course of Nissan's business.
23
         Nissan’s violations present a continuing risk to Plaintiff as well as to the general public.
24
     Defendants' unlawful acts and practices complained of herein affect the public interest.
25
         As a direct and proximate result of Defendants' violations of the Illinois CFA, Plaintiff and
26
     the Illinois Class have suffered injury-in-fact and/or actual damage.
27

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 1      Pursuant to 815 I LCS 505/1Oa(a), Plaintiff and the Illinois Class seek monetary relief

 2   against Nissan in the amount of actual damages, as well as punitive damages because Nissan
 3   acted with fraud and/or malice and/or was grossly negligent.
 4
        Plaintiff also seeks an order enjoining Nissan's unfair and/or deceptive acts or practices,
 5
     punitive damages, and attorneys' fees, and any other just and proper relief available under 815
 6
     ILCS § 50511 et seq.
 7

 8                                           COUNT 16
 9
                        Breach of Implied Warranty of Merchantability
10                       (810 Ill. Comp. Stat. §§ 5/2/-314 and 5/2A-212)
            (Plaintiff April Ahrens individually, and on behalf of the Illinois Class)
11
        Plaintiffs reallege and incorporate by reference all allegations of the preceding paragraphs
12
     as though fully set forth herein.
13
        Plaintiff Ahrens brings this action on behalf of herself and the Illinois Class, against Nissan.
14

15      Nissan is and was at all relevant times merchant[s] with respect to motor vehicles under

16   810 Ill. Comp. Stat. §§ 5/2-104(1) and 5/2A-103(3), a “seller[s]" of motor vehicles under §

17   5/2-103(1)(d).

18      With respect to leases, the Nissan is and was at all relevant times a "lessor[s]" of motor
19
     vehicles under 810 Ill. Comp. Stat. § 5/2A-l 03(1)(p).
20
        The Class Vehicles are and were at all relevant times "goods" within the meaning of 810
21
     Ill. Comp. Stat. §§ 5/2-105(1) and 5/2A-103(l )(h).
22
        A warranty that the Class Vehicles were in merchantable condition and fit for the ordinary
23
     purpose for which vehicles are used is implied by law pursuant to 810 Ill. Comp. Stat. §§ 28-
24

25   2-314 and 28-12-212.

26      These Class Vehicles, when sold or leased and at all times thereafter, were not in

27   merchantable condition and are not fit for the ordinary purpose for which vehicles are used.

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 1      Nissan was provided notice of these issues by the investigations of federal regulators,

 2   numerous complaints filed against it including the instant Complaint, and by numerous
 3   individual letters and communications sent by Plaintiff and others within a reasonable amount
 4
     of time after the allegations of Class Vehicle defects became public.
 5
        Nissan was and is in actual or constructive privity with Plaintiff and Illinois Class
 6
        Members.
 7
        (a)     Plaintiff and the Illinois Class Members had and continue to have sufficient direct
 8

 9              dealings with Nissan and/or its authorized dealers, franchisees, representatives, and

10              agents to establish any required privity of contract. Nissan’s authorized dealers,

11              franchisees, representatives, and agents were not intended to be the ultimate

12              consumers of the Class Vehicles and have no rights under the warranty agreements
13              provided with the Class Vehicles. The warranty agreements were designed for and
14
                intended to benefit only the ultimate purchasers and lessees of the Class Vehicles,
15
                i.e., Plaintiff and the Illinois Class Members.
16
        (b)     Privity is not required to assert this claim because Plaintiff and the Illinois Class
17
                Members are intended third-party beneficiaries of contracts between Nissan and its
18

19              dealers, franchisees, representatives, and agents.

20      (c)     By extending express written warranties to end-user purchasers and lessees, Nissan

21              brought itself into privity with Plaintiff and Illinois Class Members.
22      At all relevant times, Illinois law imposed upon Nissan a duty that the sunroofs installed in
23
        the Class Vehicles were fit for the ordinary purposes for which panoramic sunroofs are
24
        used and that they pass without objection in the trade under the contract description.
25

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28                                                106
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 1      Nissan has not validly disclaimed, excluded, or modified the implied warranties or duties

 2      described above, and any attempted disclaimer or exclusion of the implied warranties was
 3      and is ineffectual.
 4
        The sunroofs installed in the Class Vehicles were defective at the time they left Nissan’s
 5
        possession. Nissan knew of this defect at the time the purchase and lease transactions
 6
        occurred. Thus, the sunroofs installed in the Class Vehicles, when sold or leased and at all
 7
        times thereafter, were not in merchantable condition or quality because they are not fit for
 8

 9      their ordinary intended purpose and they do not pass without objection in the trade under

10      the contract description.

11      Nissan failed to inform Plaintiff and Illinois Class Members of the defective condition of

12      the panoramic sunroofs. The failure to warn Plaintiff and Illinois Class Members of this
13
        defective condition constitutes a further breach by Nissan of the implied warranties of
14
        merchantability.
15
        Plaintiff and Illinois Class Members used the sunroofs installed in the Class Vehicles in a
16
        manner consistent with their intended use and performed each and every duty required
17
        under the terms of the warranties, except as may have been excused or prevented by the
18

19      conduct of Nissan or by operation of law in light of Nissan’s unconscionable conduct.

20      Nissan had actual knowledge of, and received timely notice regarding, the defect at issue

21      in this litigation and, notwithstanding such notice, failed and refused to offer an effective
22      remedy.
23
        In addition, Nissan received, on information and belief, numerous consumer complaints
24
        and other notices from customers advising of the defect associated with the sunroofs
25
        installed in the Class Vehicles.
26

27

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                      THIRD AMENDED CLASS ACTION COMPLAINT
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 1      By virtue of the conduct described herein, Nissan breached the implied warranty of

 2      merchantability.
 3      As a direct and proximate result of Nissan’s breach of warranties, Plaintiff and Illinois
 4
        Class Members suffered economic damage, including loss attributable to the diminished
 5
        value of their Class Vehicles, loss of use of their Class Vehicles and other tangible property,
 6
        as well as the monies spent and to be spent to repair and/or replace their sunroofs.
 7
        Plaintiff and Illinois Class Members are entitled to legal and equitable relief against Nissan,
 8

 9      including damages, consequential damages, specific performance, attorney fees, costs of

10      suit, and such further relief as the Court may deem proper.

11      As a direct and proximate result of the Nissan’s breach of the implied warranty of

12   merchantability, Plaintiffs and the other Illinois Class members have been damaged in an
13
     amount to be proven at trial.
14
                              IX.        PRAYER FOR RELIEF
15
        WHEREFORE, Plaintiffs on behalf of themselves and the Classes request that the Court
16
        enter a judgment awarding the following relief:
17
        A.      An order certifying the proposed classes and appointing Plaintiffs’ counsel to
18

19              represent the classes;

20      B.      An order awarding Plaintiffs and Class Members their actual damages, punitive

21              damages, and/or any other form of monetary relief provided by law;
22      C.      An order awarding Plaintiffs and Class Members restitution, disgorgement, or other
23
                equitable relief as the Court deems proper;
24
        D.      An order requiring Nissan to adequately disclose and repair the defective panoramic
25
                sunroofs;
26

27

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 1          E.     An order awarding Plaintiffs and Class Members pre-judgment and post-judgment

 2                 interest as allowed under the law;
 3          F.     An order awarding Plaintiffs and Class Members reasonable attorneys’ fees and
 4
                   costs of suit, including expert witness fees; and
 5
            G.     An order awarding such other and further relief as this Court may deem just and
 6
                   proper.
 7
                                       X.         JURY DEMAND
 8

 9          Pursuant to Fed. R. Civ. P. 38(b), Plaintiffs demand a trial by jury all issues so triable under

10   the law.

11   DATED: March 16, 2018                          Respectfully submitted,

12                                                 s/Gregory F. Coleman
                                                   Gregory F. Coleman (pro hac vice)
13
                                                   Mark E. Silvey (pro hac vice)
14                                                 Adam A. Edwards (pro hac vice)
                                                   Lisa A. White (pro hac vice)
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                                     Mitchell M. Breit (pro hac vice)
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 9                                   Facsimile: (619) 238-5425
                                     jrk@classactionlaw.com
10

11                                   Attorneys for Plaintiffs
12

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 1

 2                                 CERTIFICATE OF SERVICE
                      Sherida Johnson, et al., v. Nissan North America, Inc., et al.
 3                               USDC Court Case No. 3:17-cv-1012
 4          I am a citizen of the United States and employed in Knox County, Tennessee. I am over
 5
     the age of eighteen years and not a party to the within-entitled action. My business address is 800
 6
     S. Gay Street, Suite 1100, Knoxville, TN 37929.
 7
            On March 16, 2018, I served the following document:
 8
                          THIRD AMENDED CLASS ACTION COMPLAINT
 9

10          in this action by:

11                  By CM/ECF NOTICE OF ELECTRONIC FILING.

12          I electronically filed the document(s) with the Clerk of Court by using the CM/ECF system.
13   Participants in the case who are registered CM/ECF users will be served by CM/ECF system.
14
            I declare under penalty of perjury under the laws of the State of California that the
15
     foregoing is true and correct, and that I am employed in the office of a member of the bar of this
16
     Court at whose direction the service was made.
17
            Executed on March 16, 2018, at Knoxville, Tennessee
18

19

20
                                           _________________________________
21                                               Dawn Holt

22

23

24

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                           THIRD AMENDED CLASS ACTION COMPLAINT
